Case 9:24-cr-80074-DMM Document 80 Entered on FLSD Docket 02/24/2025 Page 1 of 49



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                       Case No. 2024-CR-80074

  UNITED STATES OF AMERICA ​ )
                             )​               ​       ​
  v. ​ ​     ​      ​  ​     )​               ​       ​
                             )
  TREVOR BLAIR, ​ ​    ​     )​               ​       ​      ​       ​
       Defendant. ​ ​  ​     )

                             SENTENCING MEMORANDUM AND
                                 MOTION FOR VARIANCE

         COMES NOW, the Defendant, TREVOR BLAIR, by and through his undersigned

  counsel and hereby submits this Sentencing Memorandum and Motion for Variance, and as

  grounds therefore would state:

         1.​    Trevor Blair pled guilty to Count I charging him with conspiracy to defraud the

  United States and to receive health care kickbacks in violation of 18 USC §371, and to Count II

  charging him with with solicitation and receipt of kickbacks in connection with a federal health

  care program in violation of 42 USC §1320a-7b(b)(1)(A) on November 15, 2024.

         2.​    The Defendant entered into a plea agreement with the government that after

  appropriate calculations indicate an agreed recommended offense level 20.

         3.​    In the Role Assessment section of the PSI, the Defendant would respectfully

  submit the influence of Daniel Carver, Ethan Macier, and Jose Goyos on Mr. Blair’s criminal

  activities is understated. As the government knows Daniel Carver had significant influence in the

  manner, method, and means of how PIC Group was created, and how it was operated. While the

  Defendant fully accepts responsibility for his wrongful behavior, the svengali like involvement

  of Carver permeated all major decisions made by the Defendant. Carver also required financial



                                             Page 1 of 7
Case 9:24-cr-80074-DMM Document 80 Entered on FLSD Docket 02/24/2025 Page 2 of 49



  benefits from the Defendant as a part of his informal supervisory role. The Defendant is not

  seeking any role adjustment for his behavior as a subordinate/lackey of Carver, Macier, and

  Goyos as he agreed not to seek such relief. However, the true facts of his relative involvement in

  the many criminal conspiracies might warrant consideration pursuant to 18 USC 3553 (c)

  evaluations.

         4.​     The Defendant includes and submits with this filing a statement accepting

  responsibility (See attached Exhibit A)

         5.​     The PSR describes an optimal family setting for the Defendant when he was

  growing up.

         6.​     The Defendant has had some substance abuse issues for which some type of

  evaluation and treatment would be appropriate.

                                         EMPLOYMENT RECORD

         7.​     The Defendant was involved in daytrading from Q4 2024 to today. See attached

  Exhibit B trading records and documents for September, October, and November of 2024.

                                            SENTENCING OPTIONS

         8.​     Based on an offense level 20

                 Criminal history 1 (no priors)

                 Guideline range is 33-41

                                    REQUEST FOR VARIANCE

  ​      Pursuant to 18 USC 3553(a) the court may consider a variance from the recommended

  sentence level under the guidelines, considering, inter alia, to provide the Defendant with needed

  educational or vocational training and medical care to address his sobriety issues.

         The Defendant has and will continue to demonstrate sincere remorse for exposing his

  loving and wonderful mother and father to this illegal conduct. He is determined to achieve a


                                               Page 2 of 7
Case 9:24-cr-80074-DMM Document 80 Entered on FLSD Docket 02/24/2025 Page 3 of 49



  kind of success in life that will make them proud. (See multiple character letters attached as

  Exhibit C)

           He wishes to be sentenced to the lowest possible sentence in pursuit of getting his life on

  the right track. The PSR indicates that pursuant to 18 USC 3553(b) during the last five fiscal

  years, defendants under the same primary guidelines and with the same final offense, level and

  criminal history category, the average length of imprisonment imposed was 20 months and the

  median length of imprisonment was 23 months.

           Accordingly, the Defendant humbly requests this court sentence him to 20 months, if the

  court determines that a sentence of imprisonment is necessary. The estimate of what

  incarceration costs for a first time offender is $43,863.00 yearly for Federal Prison Camp; and

  $23,900.00 yearly for home Confinement ($20,000.00 yearly savings). It seems a non-prison

  sentence would be equally fair and appropriate. United States of America, while being 5% of the

  world’s population, incarcerates 20% of their population. A sentence of home confinement, with

  appropriate conditions, will enable the Defendant to seek further education and training so

  instead of being a burden on our society, he can be gainfully employed and work to pay back the

  US Government for the money he defrauded.

           If incarcerated, the Defendant would request that he be sent to the same institution as his

  brother, if the court determines a custodial sentence is appropriate, so that their parents can visit

  both of them in the same place. The prison camp at FCI Miami seems like the most appropriate

  place.

                  ​       ​      ​       ​      ​       Respectfully submitted,
                                                        By: /S/ Christopher A. Grillo
                                                        Christopher A. Grillo, Esq.
                                                        Attorney for Defendant
                                                        One East Broward Boulevard
                                                        Suite 700
                                                        Fort Lauderdale, FL 33301


                                               Page 3 of 7
Case 9:24-cr-80074-DMM Document 80 Entered on FLSD Docket 02/24/2025 Page 4 of 49



                                             Tel: (954) 524-1125
                                             Email: chrisgrilloatty@aol.com
                                             FLORIDA BAR NO.: 302661




                                    Page 4 of 7
Case 9:24-cr-80074-DMM Document 80 Entered on FLSD Docket 02/24/2025 Page 5 of 49




         Exhibit A




                                    Page 5 of 7
Case 9:24-cr-80074-DMM Document 80 Entered on FLSD Docket 02/24/2025 Page 6 of 49
Case 9:24-cr-80074-DMM Document 80 Entered on FLSD Docket 02/24/2025 Page 7 of 49




         Exhibit B




                                    Page 6 of 7
                                           Case 9:24-cr-80074-DMM Document 80 Entered on FLSD Docket 02/24/2025 Page 8 of 49                                                                                                             Monthly Statement of Universal Account - Securities
                                                                                                                                                                                                                                                                                   Oct 2024

Account Information

  Name                                   TREVOR BLAIR                                                                                     Customer Type                            Client

  Account Number                         1007205526753615                                                                                 Account Type                             Cash

  Address                                18720 Cape Sable Dr,Boca Raton,FL


  Net Asset Value: 1,387.65                                                                 Assets in Transit                                                   Portfolio Value                                                         Cash Balance
  Base Currency: USD                                                                              0.00                                                                0.00                                                                   1,387.65


Changes in Net Asset Value

   Starting Net Asset Value 20240930
                                                                           USD                                                     HKD                                                      CNH
                   Equal to(USD)
                                                                      1,254.75                                                     0.00                                                     0.00
                     1,254.75
                                                               exchange rate : 1.0000                                       exchange rate : -                                      exchange rate : -

   Ending Net Asset Value 20241031
                                                                           USD                                                     HKD                                                      CNH
                   Equal to(USD)
                                                                      1,387.65                                                     0.00                                                     0.00
                     1,387.65
                                                               exchange rate : 1.0000                                       exchange rate : -                                      exchange rate : -


 + Changes in Cash                                                                                                         USD                                                                         HKD                                                                         CNH

 Buy Amount                                                                                                           -17,223.00                                                                       0.00                                                                         0.00

 Buy Fee                                                                                                                   -2.83                                                                       0.00                                                                         0.00

 Sell Amount                                                                                                          +17,263.00                                                                       0.00                                                                         0.00

 Sell Fee                                                                                                                  -4.27                                                                       0.00                                                                         0.00

 Account Cash Transfer                                                                                                  +100.00                                                                        0.00                                                                         0.00

 Total                                                                                                                 +132.90                                                                         0.00                                                                        0.00

 + Changes in Position Value                                                                                               USD                                                                         HKD                                                                         CNH

 Total                                                                                                                     0.00                                                                        0.00                                                                        0.00


 + changes in assets in transit                                                                                            USD                                                                         HKD                                                                         CNH

 Total                                                                                                                     0.00                                                                        0.00                                                                        0.00


Changes in Position Value

                                                                                 Starting                                                    Ending

                        Exchange          Currency                                                                                                                               Changes in Position
      Symbol                                                    Quantity          Closing Price      Position Value           Quantity          Closing Price   Position Value                                Buy Quantity   Sell Quantity            Transfer In            Transfer Out
                                                                                                                                                                                              Value


Trades - Securities

Preparation Date: 2024/11/02                                                                                                                                                                                                                                                Page 1 of 19
Account Name: TREVOR BLAIR         Account Number: 1007205526753615
                                           Case 9:24-cr-80074-DMM Document 80 Entered on FLSD Docket 02/24/2025 Page 9 of 49                                                                                              Monthly Statement of Universal Account - Securities
                                                                                                                                                                                                                                                                    Oct 2024

  Direction                    Symbol                       Order Capacity                Currency                            Date/Time                                                   Price                         Quantity                                Amount


                               GOOGL 241004 170.00C                                                                           2024/10/01
  Buy to Open                                               Agency                        USD                                                                                           1.4100                                  1                                 141.00
                               GOOGL241004C170000                                                                             09:32:23


  Subtotal: 0.03               Number of Transactions: 1   Transaction Amount: 141.00   Net Transaction Amount: -141.03   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               GOOGL 241004 170.00C                                                                           2024/10/01
  Sell to Close                                             Agency                        USD                                                                                           1.3500                                  1                                 135.00
                               GOOGL241004C170000                                                                             09:33:11



  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 135.00   Net Transaction Amount: 134.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               TSLA 241004 240.00P                                                                            2024/10/01
  Buy to Open                                               Agency                        USD                                                                                           3.5000                                  1                                 350.00
                               TSLA241004P240000                                                                              10:29:47



  Subtotal: 0.03               Number of Transactions: 1   Transaction Amount: 350.00   Net Transaction Amount: -350.03   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               TSLA 241004 240.00P                                                                            2024/10/01
  Sell to Close                                             Agency                        USD                                                                                           3.7600                                  1                                 376.00
                               TSLA241004P240000                                                                              10:31:18


  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 376.00   Net Transaction Amount: 375.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               SPY 241001 567.00P                                                                             2024/10/01
  Buy to Open                                               Agency                        USD                                                                                           0.7700                                  4                                 308.00
                               SPY241001P567000                                                                               11:45:09


  Subtotal: 0.13               Number of Transactions: 1   Transaction Amount: 308.00   Net Transaction Amount: -308.13   Options Regulatory Fees: 0.05   OCC Fees: 0.08




                               SPY 241001 567.00P                                                                             2024/10/01
  Sell to Close                                             Agency                        USD                                                                                           0.8000                                  4                                 320.00
                               SPY241001P567000                                                                               11:47:14


  Subtotal: 0.15               Number of Transactions: 1   Transaction Amount: 320.00   Net Transaction Amount: 319.85    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.05   OCC Fees: 0.08




                               SPY 241002 569.00P                                                                             2024/10/01
  Buy to Open                                               Agency                        USD                                                                                           1.5200                                  3                                 456.00
                               SPY241002P569000                                                                               15:25:19


  Subtotal: 0.10               Number of Transactions: 1   Transaction Amount: 456.00   Net Transaction Amount: -456.10   Options Regulatory Fees: 0.04   OCC Fees: 0.06




                               SPY 241002 569.00P                                                                             2024/10/01
  Sell to Close                                             Agency                        USD                                                                                           1.5700                                  1                                 157.00
                               SPY241002P569000                                                                               15:30:24


                               SPY 241002 569.00P                                                                             2024/10/01
  Sell to Close                                             Agency                        USD                                                                                           1.5700                                  1                                 157.00
                               SPY241002P569000                                                                               15:30:24




Preparation Date: 2024/11/02                                                                                                                                                                                                                                 Page 2 of 19
Account Name: TREVOR BLAIR      Account Number: 1007205526753615
                                          Case 9:24-cr-80074-DMM Document 80 Entered on FLSD Docket 02/24/2025 Page 10 of 49                                                                                              Monthly Statement of Universal Account - Securities
                                                                                                                                                                                                                                                                    Oct 2024

  Direction                    Symbol                       Order Capacity                Currency                            Date/Time                                                   Price                         Quantity                                Amount


                               SPY 241002 569.00P                                                                             2024/10/01
  Sell to Close                                             Agency                        USD                                                                                           1.5700                                  1                                 157.00
                               SPY241002P569000                                                                               15:30:24



  Subtotal: 0.15               Number of Transactions: 3   Transaction Amount: 471.00   Net Transaction Amount: 470.85    SEC Fees: 0.03                  Trading Activity Fees: 0.03   Options Regulatory Fees: 0.03   OCC Fees: 0.06




                               TSLA 241004 240.00P                                                                            2024/10/02
  Buy to Open                                               Agency                        USD                                                                                           3.3000                                  1                                 330.00
                               TSLA241004P240000                                                                              09:31:12


  Subtotal: 0.03               Number of Transactions: 1   Transaction Amount: 330.00   Net Transaction Amount: -330.03   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               TSLA 241004 240.00P                                                                            2024/10/02
  Sell to Close                                             Agency                        USD                                                                                           2.9800                                  1                                 298.00
                               TSLA241004P240000                                                                              09:32:44


  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 298.00   Net Transaction Amount: 297.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               NVDA 241004 118.00C                                                                            2024/10/02
  Buy to Open                                               Agency                        USD                                                                                           2.0200                                  2                                 404.00
                               NVDA241004C118000                                                                              10:03:50


  Subtotal: 0.06               Number of Transactions: 1   Transaction Amount: 404.00   Net Transaction Amount: -404.06   Options Regulatory Fees: 0.02   OCC Fees: 0.04




                               NVDA 241004 118.00C                                                                            2024/10/02
  Sell to Close                NVDA241004C118000            Agency                        USD                                                                                           1.7900                                  1                                 179.00
                                                                                                                              10:05:57


                               NVDA 241004 118.00C                                                                            2024/10/02
  Sell to Close                                             Agency                        USD                                                                                           1.7900                                  1                                 179.00
                               NVDA241004C118000                                                                              10:05:57



  Subtotal: 0.10               Number of Transactions: 2   Transaction Amount: 358.00   Net Transaction Amount: 357.90    SEC Fees: 0.02                  Trading Activity Fees: 0.02   Options Regulatory Fees: 0.02   OCC Fees: 0.04




                               SPY 241003 567.00P                                                                             2024/10/02
  Buy to Open                                               Agency                        USD                                                                                           2.3300                                  1                                 233.00
                               SPY241003P567000                                                                               10:25:04


  Subtotal: 0.03               Number of Transactions: 1   Transaction Amount: 233.00   Net Transaction Amount: -233.03   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               SPY 241003 567.00P                                                                             2024/10/02
  Sell to Close                                             Agency                        USD                                                                                           1.7800                                  1                                 178.00
                               SPY241003P567000                                                                               10:32:56


  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 178.00   Net Transaction Amount: 177.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               SPY 241002 568.00P                                                                             2024/10/02
  Buy to Open                                               Agency                        USD                                                                                           0.8800                                  1                                  88.00
                               SPY241002P568000                                                                               12:58:14




Preparation Date: 2024/11/02                                                                                                                                                                                                                                 Page 3 of 19
Account Name: TREVOR BLAIR      Account Number: 1007205526753615
                                          Case 9:24-cr-80074-DMM Document 80 Entered on FLSD Docket 02/24/2025 Page 11 of 49                                                                                              Monthly Statement of Universal Account - Securities
                                                                                                                                                                                                                                                                    Oct 2024

  Direction                    Symbol                       Order Capacity                Currency                            Date/Time                                                   Price                         Quantity                                Amount


  Subtotal: 0.03               Number of Transactions: 1   Transaction Amount: 88.00    Net Transaction Amount: -88.03    Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               SPY 241002 568.00P                                                                             2024/10/02
  Sell to Close                                             Agency                        USD                                                                                           1.0600                                  1                                 106.00
                               SPY241002P568000                                                                               12:59:48


  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 106.00   Net Transaction Amount: 105.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               SPY 241002 567.00P                                                                             2024/10/02
  Buy to Open                                               Agency                        USD                                                                                           0.6600                                  1                                  66.00
                               SPY241002P567000                                                                               13:09:12


                               SPY 241002 567.00P                                                                             2024/10/02
  Buy to Open                                               Agency                        USD                                                                                           0.6600                                  2                                 132.00
                               SPY241002P567000                                                                               13:09:12



  Subtotal: 0.09               Number of Transactions: 2   Transaction Amount: 198.00   Net Transaction Amount: -198.09   Options Regulatory Fees: 0.03   OCC Fees: 0.06




                               SPY 241002 567.00P                                                                             2024/10/02
  Sell to Close                                             Agency                        USD                                                                                           0.5400                                  3                                 162.00
                               SPY241002P567000                                                                               13:21:08


  Subtotal: 0.12               Number of Transactions: 1   Transaction Amount: 162.00   Net Transaction Amount: 161.88    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.04   OCC Fees: 0.06




                               NVDA 241004 122.00C                                                                            2024/10/03
  Buy to Open                                               Agency                        USD                                                                                           1.5500                                  2                                 310.00
                               NVDA241004C122000                                                                              09:32:14


  Subtotal: 0.06               Number of Transactions: 1   Transaction Amount: 310.00   Net Transaction Amount: -310.06   Options Regulatory Fees: 0.02   OCC Fees: 0.04




                               NVDA 241004 122.00C                                                                            2024/10/03
  Sell to Close                                             Agency                        USD                                                                                           1.6400                                  1                                 164.00
                               NVDA241004C122000                                                                              09:33:55


  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 164.00   Net Transaction Amount: 163.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               NVDA 241004 122.00C                                                                            2024/10/03
  Sell to Close                                             Agency                        USD                                                                                           1.5700                                  1                                 157.00
                               NVDA241004C122000                                                                              09:35:09


  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 157.00   Net Transaction Amount: 156.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               SPY 241003 568.00C                                                                             2024/10/03
  Buy to Open                                               Agency                        USD                                                                                           0.8400                                  3                                 252.00
                               SPY241003C568000                                                                               11:02:28


  Subtotal: 0.10               Number of Transactions: 1   Transaction Amount: 252.00   Net Transaction Amount: -252.10   Options Regulatory Fees: 0.04   OCC Fees: 0.06




Preparation Date: 2024/11/02                                                                                                                                                                                                                                 Page 4 of 19
Account Name: TREVOR BLAIR      Account Number: 1007205526753615
                                          Case 9:24-cr-80074-DMM Document 80 Entered on FLSD Docket 02/24/2025 Page 12 of 49                                                                                              Monthly Statement of Universal Account - Securities
                                                                                                                                                                                                                                                                    Oct 2024

  Direction                    Symbol                       Order Capacity                Currency                            Date/Time                                                   Price                         Quantity                                Amount


                               SPY 241003 568.00C                                                                             2024/10/03
  Sell to Close                                             Agency                        USD                                                                                           1.0100                                  2                                 202.00
                               SPY241003C568000                                                                               11:07:12


                               SPY 241003 568.00C                                                                             2024/10/03
  Sell to Close                                             Agency                        USD                                                                                           1.0100                                  1                                 101.00
                               SPY241003C568000                                                                               11:07:12



  Subtotal: 0.13               Number of Transactions: 2   Transaction Amount: 303.00   Net Transaction Amount: 302.87    SEC Fees: 0.02                  Trading Activity Fees: 0.02   Options Regulatory Fees: 0.03   OCC Fees: 0.06




                               SPY 241003 568.00P                                                                             2024/10/03
  Buy to Open                                               Agency                        USD                                                                                           1.2200                                  3                                 366.00
                               SPY241003P568000                                                                               11:32:39


  Subtotal: 0.10               Number of Transactions: 1   Transaction Amount: 366.00   Net Transaction Amount: -366.10   Options Regulatory Fees: 0.04   OCC Fees: 0.06




                               SPY 241003 568.00P                                                                             2024/10/03
  Sell to Close                                             Agency                        USD                                                                                           1.0400                                  3                                 312.00
                               SPY241003P568000                                                                               11:40:33


  Subtotal: 0.12               Number of Transactions: 1   Transaction Amount: 312.00   Net Transaction Amount: 311.88    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.04   OCC Fees: 0.06




                               SPY 241007 571.00P                                                                             2024/10/04
  Buy to Open                                               Agency                        USD                                                                                           2.5300                                  2                                 506.00
                               SPY241007P571000                                                                               09:50:48


  Subtotal: 0.06               Number of Transactions: 1   Transaction Amount: 506.00   Net Transaction Amount: -506.06   Options Regulatory Fees: 0.02   OCC Fees: 0.04




                               SPY 241007 571.00P                                                                             2024/10/04
  Sell to Close                                             Agency                        USD                                                                                           3.1600                                  1                                 316.00
                               SPY241007P571000                                                                               09:56:49


  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 316.00   Net Transaction Amount: 315.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               SPY 241007 571.00P                                                                             2024/10/04
  Sell to Close                                             Agency                        USD                                                                                           3.1700                                  1                                 317.00
                               SPY241007P571000                                                                               09:57:03


  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 317.00   Net Transaction Amount: 316.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               AAPL 241004 225.00P                                                                            2024/10/04
  Buy to Open                                               Agency                        USD                                                                                           0.9100                                  2                                 182.00
                               AAPL241004P225000                                                                              10:00:06


  Subtotal: 0.06               Number of Transactions: 1   Transaction Amount: 182.00   Net Transaction Amount: -182.06   Options Regulatory Fees: 0.02   OCC Fees: 0.04




                               AAPL 241004 225.00P                                                                            2024/10/04
  Sell to Close                                             Agency                        USD                                                                                           0.7600                                  2                                 152.00
                               AAPL241004P225000                                                                              10:00:33




Preparation Date: 2024/11/02                                                                                                                                                                                                                                 Page 5 of 19
Account Name: TREVOR BLAIR      Account Number: 1007205526753615
                                          Case 9:24-cr-80074-DMM Document 80 Entered on FLSD Docket 02/24/2025 Page 13 of 49                                                                                              Monthly Statement of Universal Account - Securities
                                                                                                                                                                                                                                                                    Oct 2024

  Direction                    Symbol                       Order Capacity                Currency                            Date/Time                                                   Price                         Quantity                                Amount


  Subtotal: 0.08               Number of Transactions: 1   Transaction Amount: 152.00   Net Transaction Amount: 151.92    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.02   OCC Fees: 0.04




                               SPY 241007 569.00P                                                                             2024/10/04
  Buy to Open                                               Agency                        USD                                                                                           2.2600                                  1                                 226.00
                               SPY241007P569000                                                                               11:14:06



  Subtotal: 0.03               Number of Transactions: 1   Transaction Amount: 226.00   Net Transaction Amount: -226.03   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               SPY 241007 569.00P                                                                             2024/10/04
  Sell to Close                                             Agency                        USD                                                                                           2.5100                                  1                                 251.00
                               SPY241007P569000                                                                               11:21:44



  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 251.00   Net Transaction Amount: 250.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               SPY 241008 573.00C                                                                             2024/10/07
  Buy to Open                                               Agency                        USD                                                                                           1.3800                                  3                                 414.00
                               SPY241008C573000                                                                               10:24:23



  Subtotal: 0.10               Number of Transactions: 1   Transaction Amount: 414.00   Net Transaction Amount: -414.10   Options Regulatory Fees: 0.04   OCC Fees: 0.06




                               SPY 241008 573.00C                                                                             2024/10/07
  Sell to Close                                             Agency                        USD                                                                                           1.1700                                  3                                 351.00
                               SPY241008C573000                                                                               10:32:01



  Subtotal: 0.12               Number of Transactions: 1   Transaction Amount: 351.00   Net Transaction Amount: 350.88    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.04   OCC Fees: 0.06




                               SPY 241008 570.00P                                                                             2024/10/07
  Buy to Open                                               Agency                        USD                                                                                           1.5700                                  2                                 314.00
                               SPY241008P570000                                                                               11:55:39



  Subtotal: 0.06               Number of Transactions: 1   Transaction Amount: 314.00   Net Transaction Amount: -314.06   Options Regulatory Fees: 0.02   OCC Fees: 0.04




                               SPY 241008 570.00P                                                                             2024/10/07
  Sell to Close                                             Agency                        USD                                                                                           1.9100                                  2                                 382.00
                               SPY241008P570000                                                                               12:12:52



  Subtotal: 0.08               Number of Transactions: 1   Transaction Amount: 382.00   Net Transaction Amount: 381.92    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.02   OCC Fees: 0.04




                               NVDA 241011 131.00C                                                                            2024/10/08
  Buy to Open                                               Agency                        USD                                                                                           2.4600                                  2                                 492.00
                               NVDA241011C131000                                                                              09:34:30



  Subtotal: 0.06               Number of Transactions: 1   Transaction Amount: 492.00   Net Transaction Amount: -492.06   Options Regulatory Fees: 0.02   OCC Fees: 0.04




                               NVDA 241011 131.00C                                                                            2024/10/08
  Sell to Close                                             Agency                        USD                                                                                           2.0300                                  1                                 203.00
                               NVDA241011C131000                                                                              09:46:21




Preparation Date: 2024/11/02                                                                                                                                                                                                                                 Page 6 of 19
Account Name: TREVOR BLAIR      Account Number: 1007205526753615
                                          Case 9:24-cr-80074-DMM Document 80 Entered on FLSD Docket 02/24/2025 Page 14 of 49                                                                                              Monthly Statement of Universal Account - Securities
                                                                                                                                                                                                                                                                    Oct 2024

  Direction                    Symbol                       Order Capacity                Currency                            Date/Time                                                   Price                         Quantity                                Amount


                               NVDA 241011 131.00C                                                                            2024/10/08
  Sell to Close                                             Agency                        USD                                                                                           2.0300                                  1                                 203.00
                               NVDA241011C131000                                                                              09:46:21



  Subtotal: 0.10               Number of Transactions: 2   Transaction Amount: 406.00   Net Transaction Amount: 405.90    SEC Fees: 0.02                  Trading Activity Fees: 0.02   Options Regulatory Fees: 0.02   OCC Fees: 0.04




  Buy to Open                  NVDA 241011 131.00C                                                                            2024/10/08
                                                            Agency                        USD                                                                                           2.5800                                  2                                 516.00
                               NVDA241011C131000                                                                              10:00:06


  Subtotal: 0.06               Number of Transactions: 1   Transaction Amount: 516.00   Net Transaction Amount: -516.06   Options Regulatory Fees: 0.02   OCC Fees: 0.04




                               NVDA 241011 131.00C                                                                            2024/10/08
  Sell to Close                                             Agency                        USD                                                                                           2.6700                                  2                                 534.00
                               NVDA241011C131000                                                                              10:01:02


  Subtotal: 0.08               Number of Transactions: 1   Transaction Amount: 534.00   Net Transaction Amount: 533.92    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.02   OCC Fees: 0.04




                               SPY 241010 575.00C                                                                             2024/10/09
  Buy to Open                                               Agency                        USD                                                                                           1.8100                                  3                                 543.00
                               SPY241010C575000                                                                               10:18:53


  Subtotal: 0.10               Number of Transactions: 1   Transaction Amount: 543.00   Net Transaction Amount: -543.10   Options Regulatory Fees: 0.04   OCC Fees: 0.06




                               SPY 241010 575.00C                                                                             2024/10/09
  Sell to Close                                             Agency                        USD                                                                                           2.0200                                  2                                 404.00
                               SPY241010C575000                                                                               10:29:15


  Subtotal: 0.08               Number of Transactions: 1   Transaction Amount: 404.00   Net Transaction Amount: 403.92    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.02   OCC Fees: 0.04




                               SPY 241010 575.00C                                                                             2024/10/09
  Sell to Close                                             Agency                        USD                                                                                           1.8800                                  1                                 188.00
                               SPY241010C575000                                                                               10:30:07


  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 188.00   Net Transaction Amount: 187.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               SPY 241010 577.00C                                                                             2024/10/09
  Buy to Open                                               Agency                        USD                                                                                           2.1300                                  2                                 426.00
                               SPY241010C577000                                                                               12:48:35


                               SPY 241010 577.00C                                                                             2024/10/09
  Buy to Open                                               Agency                        USD                                                                                           2.1300                                  1                                 213.00
                               SPY241010C577000                                                                               12:48:35



  Subtotal: 0.09               Number of Transactions: 2   Transaction Amount: 639.00   Net Transaction Amount: -639.09   Options Regulatory Fees: 0.03   OCC Fees: 0.06




                               SPY 241010 577.00C                                                                             2024/10/09
  Sell to Close                                             Agency                        USD                                                                                           1.8800                                  1                                 188.00
                               SPY241010C577000                                                                               13:01:05




Preparation Date: 2024/11/02                                                                                                                                                                                                                                 Page 7 of 19
Account Name: TREVOR BLAIR      Account Number: 1007205526753615
                                          Case 9:24-cr-80074-DMM Document 80 Entered on FLSD Docket 02/24/2025 Page 15 of 49                                                                                              Monthly Statement of Universal Account - Securities
                                                                                                                                                                                                                                                                    Oct 2024

  Direction                    Symbol                       Order Capacity                Currency                            Date/Time                                                   Price                         Quantity                                Amount


                               SPY 241010 577.00C                                                                             2024/10/09
  Sell to Close                                             Agency                        USD                                                                                           1.8800                                  1                                 188.00
                               SPY241010C577000                                                                               13:01:05


                               SPY 241010 577.00C                                                                             2024/10/09
  Sell to Close                                             Agency                        USD                                                                                           1.8800                                  1                                 188.00
                               SPY241010C577000                                                                               13:01:05



  Subtotal: 0.15               Number of Transactions: 3   Transaction Amount: 564.00   Net Transaction Amount: 563.85    SEC Fees: 0.03                  Trading Activity Fees: 0.03   Options Regulatory Fees: 0.03   OCC Fees: 0.06




                               NVDA 241011 134.00C                                                                            2024/10/10
  Buy to Open                                               Agency                        USD                                                                                           1.5600                                  1                                 156.00
                               NVDA241011C134000                                                                              10:27:18


                               NVDA 241011 134.00C                                                                            2024/10/10
  Buy to Open                                               Agency                        USD                                                                                           1.5600                                  2                                 312.00
                               NVDA241011C134000                                                                              10:27:18



  Subtotal: 0.09               Number of Transactions: 2   Transaction Amount: 468.00   Net Transaction Amount: -468.09   Options Regulatory Fees: 0.03   OCC Fees: 0.06




                               NVDA 241011 134.00C                                                                            2024/10/10
  Sell to Close                                             Agency                        USD                                                                                           1.8500                                  1                                 185.00
                               NVDA241011C134000                                                                              10:47:32


                               NVDA 241011 134.00C                                                                            2024/10/10
  Sell to Close                                             Agency                        USD                                                                                           1.8500                                  1                                 185.00
                               NVDA241011C134000                                                                              10:47:32



  Subtotal: 0.10               Number of Transactions: 2   Transaction Amount: 370.00   Net Transaction Amount: 369.90    SEC Fees: 0.02                  Trading Activity Fees: 0.02   Options Regulatory Fees: 0.02   OCC Fees: 0.04




                               NVDA 241011 134.00C                                                                            2024/10/10
  Sell to Close                                             Agency                        USD                                                                                           1.9700                                  1                                 197.00
                               NVDA241011C134000                                                                              10:50:26


  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 197.00   Net Transaction Amount: 196.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               SPY 241011 577.00P                                                                             2024/10/10
  Buy to Open                                               Agency                        USD                                                                                           1.7900                                  2                                 358.00
                               SPY241011P577000                                                                               12:26:25


  Subtotal: 0.06               Number of Transactions: 1   Transaction Amount: 358.00   Net Transaction Amount: -358.06   Options Regulatory Fees: 0.02   OCC Fees: 0.04




                               SPY 241011 577.00P                                                                             2024/10/10
  Sell to Close                                             Agency                        USD                                                                                           1.9500                                  2                                 390.00
                               SPY241011P577000                                                                               12:31:09


  Subtotal: 0.08               Number of Transactions: 1   Transaction Amount: 390.00   Net Transaction Amount: 389.92    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.02   OCC Fees: 0.04




                               NVDA 241011 134.00C                                                                            2024/10/11
  Buy to Open                                               Agency                        USD                                                                                           1.5300                                  2                                 306.00
                               NVDA241011C134000                                                                              09:32:24




Preparation Date: 2024/11/02                                                                                                                                                                                                                                 Page 8 of 19
Account Name: TREVOR BLAIR      Account Number: 1007205526753615
                                          Case 9:24-cr-80074-DMM Document 80 Entered on FLSD Docket 02/24/2025 Page 16 of 49                                                                                              Monthly Statement of Universal Account - Securities
                                                                                                                                                                                                                                                                    Oct 2024

  Direction                    Symbol                       Order Capacity                Currency                            Date/Time                                                   Price                         Quantity                                Amount


  Subtotal: 0.06               Number of Transactions: 1   Transaction Amount: 306.00   Net Transaction Amount: -306.06   Options Regulatory Fees: 0.02   OCC Fees: 0.04




                               TSLA 241011 222.50C                                                                            2024/10/11
  Buy to Open                                               Agency                        USD                                                                                           1.9900                                  1                                 199.00
                               TSLA241011C222500                                                                              09:50:16


  Subtotal: 0.03               Number of Transactions: 1   Transaction Amount: 199.00   Net Transaction Amount: -199.03   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               TSLA 241011 222.50C                                                                            2024/10/11
  Sell to Close                                             Agency                        USD                                                                                           1.3800                                  1                                 138.00
                               TSLA241011C222500                                                                              09:55:28


  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 138.00   Net Transaction Amount: 137.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               NVDA 241011 134.00C                                                                            2024/10/11
  Sell to Close                                             Agency                        USD                                                                                           1.1800                                  1                                 118.00
                               NVDA241011C134000                                                                              09:58:45


                               NVDA 241011 134.00C                                                                            2024/10/11
  Sell to Close                                             Agency                        USD                                                                                           1.1800                                  1                                 118.00
                               NVDA241011C134000                                                                              09:58:45



  Subtotal: 0.10               Number of Transactions: 2   Transaction Amount: 236.00   Net Transaction Amount: 235.90    SEC Fees: 0.02                  Trading Activity Fees: 0.02   Options Regulatory Fees: 0.02   OCC Fees: 0.04




                               TSLA 241011 222.50C                                                                            2024/10/11
  Buy to Open                                               Agency                        USD                                                                                           1.9600                                  1                                 196.00
                               TSLA241011C222500                                                                              10:14:54



  Subtotal: 0.03               Number of Transactions: 1   Transaction Amount: 196.00   Net Transaction Amount: -196.03   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               TSLA 241011 222.50C                                                                            2024/10/11
  Sell to Close                                             Agency                        USD                                                                                           1.3700                                  1                                 137.00
                               TSLA241011C222500                                                                              10:25:35


  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 137.00   Net Transaction Amount: 136.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               SPY 241014 579.00P                                                                             2024/10/11
  Buy to Open                                               Agency                        USD                                                                                           1.9800                                  2                                 396.00
                               SPY241014P579000                                                                               10:49:09


  Subtotal: 0.06               Number of Transactions: 1   Transaction Amount: 396.00   Net Transaction Amount: -396.06   Options Regulatory Fees: 0.02   OCC Fees: 0.04




                               SPY 241014 579.00P                                                                             2024/10/11
  Sell to Close                                             Agency                        USD                                                                                           1.7300                                  2                                 346.00
                               SPY241014P579000                                                                               10:57:54


  Subtotal: 0.08               Number of Transactions: 1   Transaction Amount: 346.00   Net Transaction Amount: 345.92    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.02   OCC Fees: 0.04




Preparation Date: 2024/11/02                                                                                                                                                                                                                                 Page 9 of 19
Account Name: TREVOR BLAIR      Account Number: 1007205526753615
                                          Case 9:24-cr-80074-DMM Document 80 Entered on FLSD Docket 02/24/2025 Page 17 of 49                                                                                              Monthly Statement of Universal Account - Securities
                                                                                                                                                                                                                                                                    Oct 2024

  Direction                    Symbol                       Order Capacity                Currency                            Date/Time                                                   Price                         Quantity                                Amount


                               TSLA 241018 210.00P                                                                            2024/10/14
  Buy to Open                                               Agency                        USD                                                                                           2.1800                                  1                                 218.00
                               TSLA241018P210000                                                                              10:03:20


  Subtotal: 0.03               Number of Transactions: 1   Transaction Amount: 218.00   Net Transaction Amount: -218.03   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               TSLA 241018 210.00P                                                                            2024/10/14
  Sell to Close                                             Agency                        USD                                                                                           2.6300                                  1                                 263.00
                               TSLA241018P210000                                                                              10:05:44



  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 263.00   Net Transaction Amount: 262.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               TSLA 241018 225.00C                                                                            2024/10/15
  Buy to Open                                               Agency                        USD                                                                                           3.2000                                  1                                 320.00
                               TSLA241018C225000                                                                              09:31:23


  Subtotal: 0.03               Number of Transactions: 1   Transaction Amount: 320.00   Net Transaction Amount: -320.03   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               TSLA 241018 225.00C                                                                            2024/10/15
  Sell to Close                                             Agency                        USD                                                                                           3.4500                                  1                                 345.00
                               TSLA241018C225000                                                                              09:32:50



  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 345.00   Net Transaction Amount: 344.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               TSLA 241018 227.50C                                                                            2024/10/15
  Buy to Open                                               Agency                        USD                                 09:53:12                                                  2.9700                                  1                                 297.00
                               TSLA241018C227500


  Subtotal: 0.03               Number of Transactions: 1   Transaction Amount: 297.00   Net Transaction Amount: -297.03   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               TSLA 241018 227.50C                                                                            2024/10/15
  Sell to Close                                             Agency                        USD                                                                                           2.4600                                  1                                 246.00
                               TSLA241018C227500                                                                              09:54:20



  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 246.00   Net Transaction Amount: 245.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               QQQ 241017 490.00P                                                                             2024/10/16
  Buy to Open                                               Agency                        USD                                                                                           2.4600                                  1                                 246.00
                               QQQ241017P490000                                                                               10:38:01


                               QQQ 241017 490.00P                                                                             2024/10/16
  Buy to Open                                               Agency                        USD                                                                                           2.4600                                  1                                 246.00
                               QQQ241017P490000                                                                               10:38:01



  Subtotal: 0.06               Number of Transactions: 2   Transaction Amount: 492.00   Net Transaction Amount: -492.06   Options Regulatory Fees: 0.02   OCC Fees: 0.04




                               QQQ 241017 490.00P                                                                             2024/10/16
  Sell to Close                                             Agency                        USD                                                                                           2.7900                                  1                                 279.00
                               QQQ241017P490000                                                                               10:40:59




Preparation Date: 2024/11/02                                                                                                                                                                                                                                Page 10 of 19
Account Name: TREVOR BLAIR      Account Number: 1007205526753615
                                          Case 9:24-cr-80074-DMM Document 80 Entered on FLSD Docket 02/24/2025 Page 18 of 49                                                                                              Monthly Statement of Universal Account - Securities
                                                                                                                                                                                                                                                                    Oct 2024

  Direction                    Symbol                       Order Capacity                Currency                            Date/Time                                                   Price                         Quantity                                Amount


  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 279.00   Net Transaction Amount: 278.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               QQQ 241017 490.00P                                                                             2024/10/16
  Sell to Close                                             Agency                        USD                                                                                           2.8800                                  1                                 288.00
                               QQQ241017P490000                                                                               10:42:27



  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 288.00   Net Transaction Amount: 287.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               NVDA 241018 140.00C                                                                            2024/10/17
  Buy to Open                                               Agency                        USD                                                                                           1.9500                                  1                                 195.00
                               NVDA241018C140000                                                                              09:32:26


  Subtotal: 0.03               Number of Transactions: 1   Transaction Amount: 195.00   Net Transaction Amount: -195.03   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               NVDA 241018 140.00C                                        USD                                 2024/10/17
  Sell to Close                                             Agency                                                                                                                      1.3100                                  1                                 131.00
                               NVDA241018C140000                                                                              09:34:15



  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 131.00   Net Transaction Amount: 130.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               NVDA 241018 140.00C                                                                            2024/10/17
  Buy to Open                                               Agency                        USD                                                                                           1.7700                                  1                                 177.00
                               NVDA241018C140000                                                                              09:50:49


  Subtotal: 0.03               Number of Transactions: 1   Transaction Amount: 177.00   Net Transaction Amount: -177.03   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               NVDA 241018 140.00C                                                                            2024/10/17
  Sell to Close                                             Agency                        USD                                                                                           1.7400                                  1                                 174.00
                               NVDA241018C140000                                                                              09:56:25



  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 174.00   Net Transaction Amount: 173.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               QQQ 241021 494.00P                                                                             2024/10/18
  Buy to Open                                               Agency                        USD                                                                                           2.0600                                  2                                 412.00
                               QQQ241021P494000                                                                               09:49:01


  Subtotal: 0.06               Number of Transactions: 1   Transaction Amount: 412.00   Net Transaction Amount: -412.06   Options Regulatory Fees: 0.02   OCC Fees: 0.04




                               QQQ 241021 494.00P                                                                             2024/10/18
  Sell to Close                                             Agency                        USD                                                                                           2.3200                                  1                                 232.00
                               QQQ241021P494000                                                                               09:49:32



  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 232.00   Net Transaction Amount: 231.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               QQQ 241021 494.00P                                                                             2024/10/18
  Sell to Close                                             Agency                        USD                                                                                           2.0700                                  1                                 207.00
                               QQQ241021P494000                                                                               09:53:06




Preparation Date: 2024/11/02                                                                                                                                                                                                                                Page 11 of 19
Account Name: TREVOR BLAIR      Account Number: 1007205526753615
                                          Case 9:24-cr-80074-DMM Document 80 Entered on FLSD Docket 02/24/2025 Page 19 of 49                                                                                              Monthly Statement of Universal Account - Securities
                                                                                                                                                                                                                                                                    Oct 2024

  Direction                    Symbol                       Order Capacity                Currency                            Date/Time                                                   Price                         Quantity                                Amount


  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 207.00   Net Transaction Amount: 206.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               SPY 241021 584.00C                                                                             2024/10/18
  Buy to Open                                               Agency                        USD                                                                                           1.6900                                  3                                 507.00
                               SPY241021C584000                                                                               10:10:10


  Subtotal: 0.10               Number of Transactions: 1   Transaction Amount: 507.00   Net Transaction Amount: -507.10   Options Regulatory Fees: 0.04   OCC Fees: 0.06




                               SPY 241021 584.00C                                                                             2024/10/18
  Sell to Close                                             Agency                        USD                                                                                           1.3300                                  3                                 399.00
                               SPY241021C584000                                                                               10:15:48


  Subtotal: 0.12               Number of Transactions: 1   Transaction Amount: 399.00   Net Transaction Amount: 398.88    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.04   OCC Fees: 0.06




                               SPY 241021 584.00C                                                                             2024/10/18
  Buy to Open                                               Agency                        USD                                                                                           1.5000                                  1                                 150.00
                               SPY241021C584000                                                                               10:41:15


  Subtotal: 0.03               Number of Transactions: 1   Transaction Amount: 150.00   Net Transaction Amount: -150.03   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               SPY 241021 584.00C                                                                             2024/10/18
  Sell to Close                                             Agency                        USD                                                                                           1.3900                                  1                                 139.00
                               SPY241021C584000                                                                               12:02:14


  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 139.00   Net Transaction Amount: 138.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               NVDA 241025 141.00C                                                                            2024/10/21
  Buy to Open                                               Agency                        USD                                                                                           2.6800                                  1                                 268.00
                               NVDA241025C141000                                                                              09:44:07


  Subtotal: 0.03               Number of Transactions: 1   Transaction Amount: 268.00   Net Transaction Amount: -268.03   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               NVDA 241025 141.00C
                                                                                                                              2024/10/21
  Sell to Close                NVDA241025C141000            Agency                        USD                                                                                           2.8200                                  1                                 282.00
                                                                                                                              09:55:59



  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 282.00   Net Transaction Amount: 281.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               QQQ 241022 493.00C                                                                             2024/10/21
  Buy to Open                                               Agency                        USD                                                                                           1.8100                                  1                                 181.00
                               QQQ241022C493000                                                                               11:45:02


                               QQQ 241022 493.00C                                                                             2024/10/21
  Buy to Open                                               Agency                        USD                                                                                           1.8100                                  1                                 181.00
                               QQQ241022C493000                                                                               11:45:02



  Subtotal: 0.06               Number of Transactions: 2   Transaction Amount: 362.00   Net Transaction Amount: -362.06   Options Regulatory Fees: 0.02   OCC Fees: 0.04




Preparation Date: 2024/11/02                                                                                                                                                                                                                                Page 12 of 19
Account Name: TREVOR BLAIR      Account Number: 1007205526753615
                                          Case 9:24-cr-80074-DMM Document 80 Entered on FLSD Docket 02/24/2025 Page 20 of 49                                                                                              Monthly Statement of Universal Account - Securities
                                                                                                                                                                                                                                                                    Oct 2024

  Direction                    Symbol                       Order Capacity                Currency                            Date/Time                                                   Price                         Quantity                                Amount


                               QQQ 241022 493.00C                                                                             2024/10/21
  Sell to Close                                             Agency                        USD                                                                                           2.1700                                  1                                 217.00
                               QQQ241022C493000                                                                               11:50:28


  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 217.00   Net Transaction Amount: 216.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               QQQ 241022 493.00C                                                                             2024/10/21
  Sell to Close                                             Agency                        USD                                                                                           1.9800                                  1                                 198.00
                               QQQ241022C493000                                                                               11:54:37



  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 198.00   Net Transaction Amount: 197.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               MSFT 241025 422.50C                                                                            2024/10/22
  Buy to Open                                               Agency                        USD                                                                                           2.3600                                  1                                 236.00
                               MSFT241025C422500                                                                              09:32:45


  Subtotal: 0.03               Number of Transactions: 1   Transaction Amount: 236.00   Net Transaction Amount: -236.03   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               MSFT 241025 422.50C                                                                            2024/10/22
  Sell to Close                                             Agency                        USD                                                                                           2.6500                                  1                                 265.00
                               MSFT241025C422500                                                                              09:33:12



  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 265.00   Net Transaction Amount: 264.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               SPY 241023 582.00P                                                                             2024/10/22
  Buy to Open                                               Agency                        USD                                                                                           1.2200                                  1                                 122.00
                               SPY241023P582000                                                                               12:55:09


  Subtotal: 0.03               Number of Transactions: 1   Transaction Amount: 122.00   Net Transaction Amount: -122.03   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               SPY 241023 582.00P                                                                             2024/10/22
  Sell to Close                                             Agency                        USD                                                                                           1.0400                                  1                                 104.00
                               SPY241023P582000                                                                               13:33:22



  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 104.00   Net Transaction Amount: 103.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               NVDA 241025 140.00P                                                                            2024/10/23
  Buy to Open                                               Agency                        USD                                                                                           2.0700                                  1                                 207.00
                               NVDA241025P140000                                                                              10:02:52


  Subtotal: 0.03               Number of Transactions: 1   Transaction Amount: 207.00   Net Transaction Amount: -207.03   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               NVDA 241025 140.00P                                                                            2024/10/23
  Sell to Close                                             Agency                        USD                                                                                           2.2200                                  1                                 222.00
                               NVDA241025P140000                                                                              10:03:38



  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 222.00   Net Transaction Amount: 221.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




Preparation Date: 2024/11/02                                                                                                                                                                                                                                Page 13 of 19
Account Name: TREVOR BLAIR      Account Number: 1007205526753615
                                          Case 9:24-cr-80074-DMM Document 80 Entered on FLSD Docket 02/24/2025 Page 21 of 49                                                                                              Monthly Statement of Universal Account - Securities
                                                                                                                                                                                                                                                                    Oct 2024

  Direction                    Symbol                       Order Capacity                Currency                            Date/Time                                                   Price                         Quantity                                Amount


                               QQQ 241024 493.00C                                                                             2024/10/23
  Buy to Open                                               Agency                        USD                                                                                           2.3700                                  1                                 237.00
                               QQQ241024C493000                                                                               10:30:04


  Subtotal: 0.03               Number of Transactions: 1   Transaction Amount: 237.00   Net Transaction Amount: -237.03   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               QQQ 241024 493.00C                                                                             2024/10/23
  Buy to Open                                               Agency                        USD                                                                                           2.6000                                  1                                 260.00
                               QQQ241024C493000                                                                               10:34:36


  Subtotal: 0.03               Number of Transactions: 1   Transaction Amount: 260.00   Net Transaction Amount: -260.03   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               QQQ 241024 493.00C                                                                             2024/10/23
  Sell to Close                                             Agency                        USD                                                                                           2.3900                                  2                                 478.00
                               QQQ241024C493000                                                                               10:37:10


  Subtotal: 0.08               Number of Transactions: 1   Transaction Amount: 478.00   Net Transaction Amount: 477.92    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.02   OCC Fees: 0.04




                               SPY 241024 580.00C                                                                             2024/10/23
  Buy to Open                                               Agency                        USD                                                                                           1.4300                                  1                                 143.00
                               SPY241024C580000                                                                               12:15:12


  Subtotal: 0.03               Number of Transactions: 1   Transaction Amount: 143.00   Net Transaction Amount: -143.03   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               SPY 241024 580.00C                                                                             2024/10/23
  Sell to Close                                             Agency                        USD                                                                                           1.3500                                  1                                 135.00
                               SPY241024C580000                                                                               12:23:38


  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 135.00   Net Transaction Amount: 134.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               TSLA 241025 250.00C                                                                            2024/10/24
  Buy to Open                                               Agency                        USD                                                                                           2.5500                                  1                                 255.00
                               TSLA241025C250000                                                                              09:34:10


  Subtotal: 0.03               Number of Transactions: 1   Transaction Amount: 255.00   Net Transaction Amount: -255.03   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               TSLA 241025 250.00C                                                                            2024/10/24
  Sell to Close                TSLA241025C250000            Agency                        USD                                                                                           3.3100                                  1                                 331.00
                                                                                                                              09:34:56



  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 331.00   Net Transaction Amount: 330.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               TSLA 241025 255.00C                                                                            2024/10/24
  Buy to Open                                               Agency                        USD                                                                                           2.4100                                  1                                 241.00
                               TSLA241025C255000                                                                              09:38:58


  Subtotal: 0.03               Number of Transactions: 1   Transaction Amount: 241.00   Net Transaction Amount: -241.03   Options Regulatory Fees: 0.01   OCC Fees: 0.02




Preparation Date: 2024/11/02                                                                                                                                                                                                                                Page 14 of 19
Account Name: TREVOR BLAIR      Account Number: 1007205526753615
                                          Case 9:24-cr-80074-DMM Document 80 Entered on FLSD Docket 02/24/2025 Page 22 of 49                                                                                              Monthly Statement of Universal Account - Securities
                                                                                                                                                                                                                                                                    Oct 2024

  Direction                    Symbol                       Order Capacity                Currency                            Date/Time                                                   Price                         Quantity                                Amount


                               TSLA 241025 255.00C                                                                            2024/10/24
  Sell to Close                                             Agency                        USD                                                                                           2.1000                                  1                                 210.00
                               TSLA241025C255000                                                                              09:42:03



  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 210.00   Net Transaction Amount: 209.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               SPY 241025 578.00C                                                                             2024/10/24
  Buy to Open                                               Agency                        USD                                                                                           2.4800                                  1                                 248.00
                               SPY241025C578000                                                                               11:09:25


  Subtotal: 0.03               Number of Transactions: 1   Transaction Amount: 248.00   Net Transaction Amount: -248.03   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               SPY 241025 578.00C                                                                             2024/10/24
  Sell to Close                                             Agency                        USD                                                                                           2.7300                                  1                                 273.00
                               SPY241025C578000                                                                               11:15:06


  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 273.00   Net Transaction Amount: 272.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               TSLA 241025 262.50C                                                                            2024/10/25
  Buy to Open                                               Agency                        USD                                                                                           2.7200                                  1                                 272.00
                               TSLA241025C262500                                                                              09:34:02


  Subtotal: 0.03               Number of Transactions: 1   Transaction Amount: 272.00   Net Transaction Amount: -272.03   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               TSLA 241025 262.50C                                                                            2024/10/25
  Sell to Close                                             Agency                        USD                                                                                           3.3200                                  1                                 332.00
                               TSLA241025C262500                                                                              09:34:28


  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 332.00   Net Transaction Amount: 331.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               TSLA 241025 265.00C                                                                            2024/10/25
  Buy to Open                                               Agency                        USD                                                                                           3.0300                                  1                                 303.00
                               TSLA241025C265000                                                                              09:43:42


  Subtotal: 0.03               Number of Transactions: 1   Transaction Amount: 303.00   Net Transaction Amount: -303.03   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               TSLA 241025 265.00C                                                                            2024/10/25
  Sell to Close                                             Agency                        USD                                                                                           3.3000                                  1                                 330.00
                               TSLA241025C265000                                                                              09:44:17


  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 330.00   Net Transaction Amount: 329.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               SPY 241028 582.00P                                                                             2024/10/25
  Buy to Open                                               Agency                        USD                                                                                           1.5900                                  2                                 318.00
                               SPY241028P582000                                                                               11:51:15


  Subtotal: 0.06               Number of Transactions: 1   Transaction Amount: 318.00   Net Transaction Amount: -318.06   Options Regulatory Fees: 0.02   OCC Fees: 0.04




Preparation Date: 2024/11/02                                                                                                                                                                                                                                Page 15 of 19
Account Name: TREVOR BLAIR      Account Number: 1007205526753615
                                          Case 9:24-cr-80074-DMM Document 80 Entered on FLSD Docket 02/24/2025 Page 23 of 49                                                                                              Monthly Statement of Universal Account - Securities
                                                                                                                                                                                                                                                                    Oct 2024

  Direction                    Symbol                       Order Capacity                Currency                            Date/Time                                                   Price                         Quantity                                Amount


                               SPY 241028 582.00P                                                                             2024/10/25
  Sell to Close                                             Agency                        USD                                                                                           1.7400                                  1                                 174.00
                               SPY241028P582000                                                                               11:52:51


  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 174.00   Net Transaction Amount: 173.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               SPY 241028 582.00P                                                                             2024/10/25
  Sell to Close                                             Agency                        USD                                                                                           1.7400                                  1                                 174.00
                               SPY241028P582000                                                                               11:58:14


  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 174.00   Net Transaction Amount: 173.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               TSLA 241101 280.00C                                                                            2024/10/28
  Buy to Open                                               Agency                        USD                                                                                           3.3400                                  1                                 334.00
                               TSLA241101C280000                                                                              10:20:29



  Subtotal: 0.03               Number of Transactions: 1   Transaction Amount: 334.00   Net Transaction Amount: -334.03   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               TSLA 241101 280.00C                                                                            2024/10/28
  Sell to Close                                             Agency                        USD                                                                                           3.5000                                  1                                 350.00
                               TSLA241101C280000                                                                              10:24:30


  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 350.00   Net Transaction Amount: 349.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               SPY 241029 583.00C                                                                             2024/10/28
  Buy to Open                                               Agency                        USD                                                                                           1.3200                                  1                                 132.00
                               SPY241029C583000                                                                               11:14:10


  Subtotal: 0.03               Number of Transactions: 1   Transaction Amount: 132.00   Net Transaction Amount: -132.03   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               SPY 241029 583.00C                                                                             2024/10/28
  Sell to Close                                             Agency                        USD                                                                                           1.0400                                  1                                 104.00
                               SPY241029C583000                                                                               11:32:21


  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 104.00   Net Transaction Amount: 103.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               TSLA 241101 255.00P                                                                            2024/10/29
  Buy to Open                                               Agency                        USD                                                                                           3.4500                                  1                                 345.00
                               TSLA241101P255000                                                                              09:53:50



  Subtotal: 0.03               Number of Transactions: 1   Transaction Amount: 345.00   Net Transaction Amount: -345.03   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               TSLA 241101 255.00P                                                                            2024/10/29
  Sell to Close                                             Agency                        USD                                                                                           3.7000                                  1                                 370.00
                               TSLA241101P255000                                                                              09:55:18


  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 370.00   Net Transaction Amount: 369.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




Preparation Date: 2024/11/02                                                                                                                                                                                                                                Page 16 of 19
Account Name: TREVOR BLAIR      Account Number: 1007205526753615
                                          Case 9:24-cr-80074-DMM Document 80 Entered on FLSD Docket 02/24/2025 Page 24 of 49                                                                                              Monthly Statement of Universal Account - Securities
                                                                                                                                                                                                                                                                    Oct 2024

  Direction                    Symbol                       Order Capacity                Currency                            Date/Time                                                   Price                         Quantity                                Amount


                               SPY 241030 582.00C                                                                             2024/10/29
  Buy to Open                                               Agency                        USD                                                                                           1.9900                                  1                                 199.00
                               SPY241030C582000                                                                               13:35:08


  Subtotal: 0.03               Number of Transactions: 1   Transaction Amount: 199.00   Net Transaction Amount: -199.03   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               SPY 241030 582.00C                                                                             2024/10/29
  Sell to Close                                             Agency                        USD                                                                                           1.8500                                  1                                 185.00
                               SPY241030C582000                                                                               13:42:10


  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 185.00   Net Transaction Amount: 184.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               GOOGL 241101 182.50C                                                                           2024/10/30
  Buy to Open                                               Agency                        USD                                                                                           2.4600                                  1                                 246.00
                               GOOGL241101C182500                                                                             09:30:43


  Subtotal: 0.03               Number of Transactions: 1   Transaction Amount: 246.00   Net Transaction Amount: -246.03   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               GOOGL 241101 182.50C                                                                           2024/10/30
  Sell to Close                                             Agency                        USD                                                                                           2.0300                                  1                                 203.00
                               GOOGL241101C182500                                                                             09:33:18


  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 203.00   Net Transaction Amount: 202.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               SMCI 241101 36.00C                                                                             2024/10/30
  Buy to Open                                               Agency                        USD                                                                                           2.5000                                  1                                 250.00
                               SMCI241101C36000                                                                               09:55:13


  Subtotal: 0.03               Number of Transactions: 1   Transaction Amount: 250.00   Net Transaction Amount: -250.03   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               SMCI 241101 36.00C                                                                             2024/10/30
  Sell to Close                                             Agency                        USD                                                                                           3.0400                                  1                                 304.00
                               SMCI241101C36000                                                                               09:56:52



  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 304.00   Net Transaction Amount: 303.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               TSLA 241101 265.00C                                                                            2024/10/30
  Buy to Open                                               Agency                        USD                                                                                           2.8600                                  1                                 286.00
                               TSLA241101C265000                                                                              10:22:55


  Subtotal: 0.03               Number of Transactions: 1   Transaction Amount: 286.00   Net Transaction Amount: -286.03   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               TSLA 241101 265.00C                                                                            2024/10/30
  Sell to Close                                             Agency                        USD                                                                                           3.0000                                  1                                 300.00
                               TSLA241101C265000                                                                              10:23:39


  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 300.00   Net Transaction Amount: 299.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




Preparation Date: 2024/11/02                                                                                                                                                                                                                                Page 17 of 19
Account Name: TREVOR BLAIR      Account Number: 1007205526753615
                                                   Case 9:24-cr-80074-DMM Document 80 Entered on FLSD Docket 02/24/2025 Page 25 of 49                                                                                                                                      Monthly Statement of Universal Account - Securities
                                                                                                                                                                                                                                                                                                                     Oct 2024

  Direction                               Symbol                                 Order Capacity                  Currency                                Date/Time                                                                  Price                                 Quantity                               Amount


 USD Total

              Total of Transaction Fees: 2.83       Number of Transactions: 62            Number of Orders: 57          Transaction Amount: 17,223.00          Net Transaction Amount: -17,225.83   Options Regulatory Fees: 0.99           OCC Fees: 1.84
   Buy


              Total of Transaction Fees: 4.27       Number of Transactions: 73            Number of Orders: 64          Transaction Amount: 17,263.00          Net Transaction Amount: 17,258.73    SEC Fees: 0.73                          Trading Activity Fees: 0.73              Options Regulatory Fees: 0.97
   Sell       OCC Fees: 1.84




Changes in Cash

   USD                                                                                               Date/Time                                          Type                                                Amount                                                        Comment

                                                                                                     -                                                  Buy Amount                                          -17,223.00
   Starting Cash                                                                 1,254.75
                                                                                                     -                                                  Buy Fee                                             -2.83

   Ending Cash                                                                   1,387.65            -                                                  Sell Amount                                         +17,263.00
   Ending Settled Cash                                                           1,387.65
                                                                                                     -                                                  Sell Fee                                            -4.27
   Ending Unsettled Cash                                                             0.00                                                                                                                                                                                 INTER-ACCOUNT TRANSFER FROM
                                                                                                     2024/10/05 00:31:41                                Account Cash Transfer                               +100.00
                                                                                                                                                                                                                                                                          6068 USD 100.00

                                                                                                                                                        USD Total                                           132.90


   HKD                                                                                               Date/Time                                          Type                                                Amount                                                        Comment

   Starting Cash                                                                     0.00                                                               HKD Total                                           0.00


   Ending Cash                                                                       0.00
   Ending Settled Cash                                                               0.00
   Ending Unsettled Cash                                                             0.00



   CNH                                                                                               Date/Time                                          Type                                                Amount                                                        Comment


   Starting Cash                                                                     0.00                                                               CNH Total                                           0.00


   Ending Cash                                                                       0.00
   Ending Settled Cash                                                               0.00
   Ending Unsettled Cash                                                             0.00




Preparation Date: 2024/11/02                                                                                                                                                                                                                                                                                 Page 18 of 19
Account Name: TREVOR BLAIR                  Account Number: 1007205526753615
                                      Case 9:24-cr-80074-DMM Document 80 Entered on FLSD Docket 02/24/2025 Page 26 of 49                                                                  Monthly Statement of Universal Account - Securities
                                                                                                                                                                                                                                    Oct 2024

NOTES AND IMPORTANT INFORMATION

Please promptly report any inaccuracy or discrepancy in this statement, or in your account to Moomoo Financial Inc. Customer Service Department at cs@us.moomoo.com.

Any interest charged on the debit balance and/or borrow fee rate in your account is shown on this statement.These rates may change from time to time without prior notice.

The closing prices on this statement are unaudited and may come from third-party sources. Moomoo Financial Inc. does not warrant the accuracy of the prices.

Information on commissions and other charges related to the execution of option transactions was included in confirmations of such transactions that were previously furnished to you. If you would like more information,
please contact us.

You must promptly advise Moomoo Financial Inc. by emailing cs@us.moomoo.com of any material change in your investment objectives or financial situation.

Year to date income and realized gain/loss figures in this statement are preliminary and should not be used for income tax purposes.

Cash Sweep Program. Moomoo Financial Inc. is not responsible for monitoring the amount of your deposits in any program bank. You are responsible for monitoring the total amounts of deposits in each bank to
determine whether the deposits exceed the limit of available FDIC insurance.

FDIC Protection. Cash Sweep deposits are insured by the Federal Deposit Insurance Corporation (FDIC) up to $250,000 per program bank, including other deposits you may already hold at the bank in the same
ownership capacity. Your funds in the Cash Sweep Program are not protected by SIPC.

SIPC Protection. Securities Investor Protection Corporation (SIPC) protects against the loss of cash and securities held by a customer at a financially-troubled SIPC-member brokerage firm. SIPC does not protect against
the decline in value of your securities. The limit of SIPC protection is $500,000, which includes a $250,000 limit for cash.www.sipc.org

Interactive Brokers LLC is a member of the New York Stock Exchange and various other exchanges. Interactive Brokers LLC acts as clearing broker for your trades, and may provide order execution services.
Address: Interactive Brokers, LLC, One Pickwick Plaza, 2nd Floor, Greenwich, CT 06830
Telephone: 877-442-2757

Futu Clearing Inc. may act as a clearing broker and may provide execution services for some of your transactions.
Address: Futu Clearing Inc., 550 S California Ave, Suite 200 Palo Alto, CA 94306
Telephone: 650-798-5700

Futu Securities International (Hong Kong) Limited is a Hong Kong Exchange participant and it provides clearing and execution services for your trades on the Hong Kong Exchange.

Address: Unit C1-2, 13F, United Centre, No. 95 Queensway, Admiralty, HK
Telephone: HK(852)2523 3588; Mainland China(86 755)8869 1168

For additional information about your account, see Terms of Use & Customer Agreement at www.moomoo.com/us.

In case of discrepancies between the English language version of this document and any translation provided for your reference, the English language version shall prevail.




Moomoo Financial Inc.
www.moomoo.com/us
550 S California Ave, Suite 200 Palo Alto, CA 94306, 650-798-5700, cs@us.moomoo.com
Member FINRA / SIPC
Preparation Date: 2024/11/02                                                                                                                                                                                                Page 19 of 19
Account Name: TREVOR BLAIR     Account Number: 1007205526753615
                                          Case 9:24-cr-80074-DMM Document 80 Entered on FLSD Docket 02/24/2025 Page 27 of 49                                                                                                             Monthly Statement of Universal Account - Securities
                                                                                                                                                                                                                                                                                   Nov 2024

Account Information

  Name                                   TREVOR BLAIR                                                                                     Customer Type                            Client

  Account Number                         1007205526753615                                                                                 Account Type                             Cash

  Address                                18720 Cape Sable Dr,Boca Raton,FL


  Net Asset Value: 859.72                                                                   Assets in Transit                                                   Portfolio Value                                                         Cash Balance
  Base Currency: USD                                                                              0.00                                                                0.00                                                                   859.72


Changes in Net Asset Value

   Starting Net Asset Value 20241031
                                                                           USD                                                     HKD                                                      CNH
                   Equal to(USD)
                                                                      1,387.65                                                     0.00                                                     0.00
                     1,387.65
                                                               exchange rate : 1.0000                                       exchange rate : -                                      exchange rate : -

   Ending Net Asset Value 20241129
                                                                           USD                                                     HKD                                                      CNH
                   Equal to(USD)
                                                                       859.72                                                      0.00                                                     0.00
                      859.72
                                                               exchange rate : 1.0000                                       exchange rate : -                                      exchange rate : -


 + Changes in Cash                                                                                                         USD                                                                         HKD                                                                         CNH

 Buy Amount                                                                                                           -12,267.00                                                                       0.00                                                                         0.00

 Buy Fee                                                                                                                   -1.55                                                                       0.00                                                                         0.00

 Sell Amount                                                                                                          +11,843.00                                                                       0.00                                                                         0.00

 Sell Fee                                                                                                                  -2.38                                                                       0.00                                                                         0.00

 Withdrawal                                                                                                              -100.00                                                                       0.00                                                                         0.00

 Total                                                                                                                  -527.93                                                                        0.00                                                                        0.00

 + Changes in Position Value                                                                                               USD                                                                         HKD                                                                         CNH

 Total                                                                                                                     0.00                                                                        0.00                                                                        0.00


 + changes in assets in transit                                                                                            USD                                                                         HKD                                                                         CNH

 Total                                                                                                                     0.00                                                                        0.00                                                                        0.00


Changes in Position Value

                                                                                 Starting                                                    Ending

                        Exchange          Currency                                                                                                                               Changes in Position
      Symbol                                                    Quantity          Closing Price      Position Value           Quantity          Closing Price   Position Value                                Buy Quantity   Sell Quantity            Transfer In            Transfer Out
                                                                                                                                                                                              Value


Trades - Securities

Preparation Date: 2024/12/03                                                                                                                                                                                                                                                Page 1 of 12
Account Name: TREVOR BLAIR         Account Number: 1007205526753615
                                          Case 9:24-cr-80074-DMM Document 80 Entered on FLSD Docket 02/24/2025 Page 28 of 49                                                                                              Monthly Statement of Universal Account - Securities
                                                                                                                                                                                                                                                                    Nov 2024

  Direction                    Symbol                       Order Capacity                Currency                            Date/Time                                                   Price                         Quantity                                 Amount


                               SPY 241105 571.00P                                                                             2024/11/04
  Buy to Open                                               Agency                        USD                                                                                           2.3500                                  1                                 235.00
                               SPY241105P571000                                                                               09:45:10


  Subtotal: 0.03               Number of Transactions: 1   Transaction Amount: 235.00   Net Transaction Amount: -235.03   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               SPY 241105 571.00P                                                                             2024/11/04
  Sell to Close                                             Agency                        USD                                 09:46:04                                                  2.1200                                  1                                 212.00
                               SPY241105P571000



  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 212.00   Net Transaction Amount: 211.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               SPY 241105 572.00C                                                                             2024/11/04
  Buy to Open                                               Agency                        USD                                                                                           2.0600                                  2                                 412.00
                               SPY241105C572000                                                                               09:47:10



  Subtotal: 0.06               Number of Transactions: 1   Transaction Amount: 412.00   Net Transaction Amount: -412.06   Options Regulatory Fees: 0.02   OCC Fees: 0.04




                               SPY 241105 572.00C                                                                             2024/11/04
  Sell to Close                                             Agency                        USD                                                                                           1.7800                                  2                                 356.00
                               SPY241105C572000                                                                               09:50:56


  Subtotal: 0.08               Number of Transactions: 1   Transaction Amount: 356.00   Net Transaction Amount: 355.92    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.02   OCC Fees: 0.04




                               TSLA 241108 260.00C                                                                            2024/11/05
  Buy to Open                                               Agency                        USD                                                                                           4.0200                                  1                                 402.00
                               TSLA241108C260000                                                                              09:35:23


  Subtotal: 0.03               Number of Transactions: 1   Transaction Amount: 402.00   Net Transaction Amount: -402.03   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               TSLA 241108 260.00C                                                                            2024/11/05
  Sell to Close                                             Agency                        USD                                                                                           4.2200                                  1                                 422.00
                               TSLA241108C260000                                                                              09:36:58


  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 422.00   Net Transaction Amount: 421.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               SPY 241106 575.00P                                                                             2024/11/05
  Buy to Open                                               Agency                        USD                                                                                           4.1600                                  1                                 416.00
                               SPY241106P575000                                                                               12:29:43


                               SPY 241106 575.00P                                                                             2024/11/05
  Buy to Open                                               Agency                        USD                                                                                           4.1600                                  1                                 416.00
                               SPY241106P575000                                                                               12:29:43



  Subtotal: 0.06               Number of Transactions: 2   Transaction Amount: 832.00   Net Transaction Amount: -832.06   Options Regulatory Fees: 0.02   OCC Fees: 0.04




                               SPY 241106 575.00P                                                                             2024/11/05
  Sell to Close                                             Agency                        USD                                                                                           3.8200                                  2                                 764.00
                               SPY241106P575000                                                                               12:46:53




Preparation Date: 2024/12/03                                                                                                                                                                                                                                 Page 2 of 12
Account Name: TREVOR BLAIR      Account Number: 1007205526753615
                                          Case 9:24-cr-80074-DMM Document 80 Entered on FLSD Docket 02/24/2025 Page 29 of 49                                                                                              Monthly Statement of Universal Account - Securities
                                                                                                                                                                                                                                                                    Nov 2024

  Direction                    Symbol                       Order Capacity                Currency                            Date/Time                                                   Price                         Quantity                                 Amount


  Subtotal: 0.09               Number of Transactions: 1   Transaction Amount: 764.00   Net Transaction Amount: 763.91    SEC Fees: 0.02                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.02   OCC Fees: 0.04




                               TSLA 241108 295.00C                                                                            2024/11/06
  Buy to Open                                               Agency                        USD                                                                                           5.0500                                  1                                 505.00
                               TSLA241108C295000                                                                              09:33:30


  Subtotal: 0.03               Number of Transactions: 1   Transaction Amount: 505.00   Net Transaction Amount: -505.03   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               TSLA 241108 295.00C                                                                            2024/11/06
  Sell to Close                                             Agency                        USD                                                                                           4.3500                                  1                                 435.00
                               TSLA241108C295000                                                                              09:35:59


  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 435.00   Net Transaction Amount: 434.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               QQQ 241107 503.00P                                                                             2024/11/06
  Buy to Open                                               Agency                        USD                                                                                           2.1800                                  2                                 436.00
                               QQQ241107P503000                                                                               13:00:32



  Subtotal: 0.06               Number of Transactions: 1   Transaction Amount: 436.00   Net Transaction Amount: -436.06   Options Regulatory Fees: 0.02   OCC Fees: 0.04




                               QQQ 241107 503.00P                                                                             2024/11/06
  Sell to Close                                             Agency                        USD                                                                                           1.9800                                  1                                 198.00
                               QQQ241107P503000                                                                               13:05:34


                               QQQ 241107 503.00P                                                                             2024/11/06
  Sell to Close                                             Agency                        USD                                                                                           1.9800                                  1                                 198.00
                               QQQ241107P503000                                                                               13:05:34



  Subtotal: 0.10               Number of Transactions: 2   Transaction Amount: 396.00   Net Transaction Amount: 395.90    SEC Fees: 0.02                  Trading Activity Fees: 0.02   Options Regulatory Fees: 0.02   OCC Fees: 0.04




                               TSLA 241108 295.00C                                                                            2024/11/07
  Buy to Open                                               Agency                        USD                                                                                           3.3500                                  2                                 670.00
                               TSLA241108C295000                                                                              09:30:21


  Subtotal: 0.06               Number of Transactions: 1   Transaction Amount: 670.00   Net Transaction Amount: -670.06   Options Regulatory Fees: 0.02   OCC Fees: 0.04




                               TSLA 241108 295.00C                                                                            2024/11/07
  Sell to Close                                             Agency                        USD                                                                                           2.9000                                  1                                 290.00
                               TSLA241108C295000                                                                              09:30:56


                               TSLA 241108 295.00C                                                                            2024/11/07
  Sell to Close                                             Agency                        USD                                                                                           2.9000                                  1                                 290.00
                               TSLA241108C295000                                                                              09:30:56



  Subtotal: 0.10               Number of Transactions: 2   Transaction Amount: 580.00   Net Transaction Amount: 579.90    SEC Fees: 0.02                  Trading Activity Fees: 0.02   Options Regulatory Fees: 0.02   OCC Fees: 0.04




                               TSLA 241108 295.00C                                                                            2024/11/07
  Buy to Open                                               Agency                        USD                                                                                           3.2500                                  1                                 325.00
                               TSLA241108C295000                                                                              09:41:58




Preparation Date: 2024/12/03                                                                                                                                                                                                                                 Page 3 of 12
Account Name: TREVOR BLAIR      Account Number: 1007205526753615
                                          Case 9:24-cr-80074-DMM Document 80 Entered on FLSD Docket 02/24/2025 Page 30 of 49                                                                                              Monthly Statement of Universal Account - Securities
                                                                                                                                                                                                                                                                    Nov 2024

  Direction                    Symbol                       Order Capacity                Currency                            Date/Time                                                   Price                         Quantity                                 Amount


  Subtotal: 0.03               Number of Transactions: 1   Transaction Amount: 325.00   Net Transaction Amount: -325.03   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               TSLA 241108 295.00C                                                                            2024/11/07
  Sell to Close                                             Agency                        USD                                                                                           2.8900                                  1                                 289.00
                               TSLA241108C295000                                                                              09:42:49


  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 289.00   Net Transaction Amount: 288.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               TSLA 241108 300.00C                                                                            2024/11/08
  Buy to Open                                               Agency                        USD                                                                                           3.2900                                  1                                 329.00
                               TSLA241108C300000                                                                              09:33:20


  Subtotal: 0.03               Number of Transactions: 1   Transaction Amount: 329.00   Net Transaction Amount: -329.03   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               TSLA 241108 300.00C                                                                            2024/11/08
  Sell to Close                                             Agency                        USD                                                                                           3.9000                                  1                                 390.00
                               TSLA241108C300000                                                                              09:34:32


  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 390.00   Net Transaction Amount: 389.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               QQQ 241111 514.00C                                                                             2024/11/08
  Buy to Open                                               Agency                        USD                                                                                           1.4400                                  1                                 144.00
                               QQQ241111C514000                                                                               10:12:59


  Subtotal: 0.03               Number of Transactions: 1   Transaction Amount: 144.00   Net Transaction Amount: -144.03   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               QQQ 241111 514.00C                                                                             2024/11/08
  Sell to Close                                             Agency                        USD                                                                                           1.5200                                  1                                 152.00
                               QQQ241111C514000                                                                               10:23:11


  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 152.00   Net Transaction Amount: 151.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               QQQ 241111 513.00P                                                                             2024/11/08
  Buy to Open                                               Agency                        USD                                                                                           1.7400                                  1                                 174.00
                               QQQ241111P513000                                                                               11:11:12


  Subtotal: 0.03               Number of Transactions: 1   Transaction Amount: 174.00   Net Transaction Amount: -174.03   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               QQQ 241111 513.00P                                                                             2024/11/08
  Sell to Close                                             Agency                        USD                                                                                           1.5400                                  1                                 154.00
                               QQQ241111P513000                                                                               11:25:58



  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 154.00   Net Transaction Amount: 153.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               SPY 241112 599.00P                                                                             2024/11/11
  Buy to Open                                               Agency                        USD                                                                                           1.5700                                  2                                 314.00
                               SPY241112P599000                                                                               09:53:32




Preparation Date: 2024/12/03                                                                                                                                                                                                                                 Page 4 of 12
Account Name: TREVOR BLAIR      Account Number: 1007205526753615
                                          Case 9:24-cr-80074-DMM Document 80 Entered on FLSD Docket 02/24/2025 Page 31 of 49                                                                                              Monthly Statement of Universal Account - Securities
                                                                                                                                                                                                                                                                    Nov 2024

  Direction                    Symbol                       Order Capacity                Currency                            Date/Time                                                   Price                         Quantity                                 Amount


  Subtotal: 0.06               Number of Transactions: 1   Transaction Amount: 314.00   Net Transaction Amount: -314.06   Options Regulatory Fees: 0.02   OCC Fees: 0.04




                               SPY 241112 599.00P                                                                             2024/11/11
  Sell to Close                                             Agency                        USD                                                                                           1.7700                                  2                                 354.00
                               SPY241112P599000                                                                               10:07:53


  Subtotal: 0.08               Number of Transactions: 1   Transaction Amount: 354.00   Net Transaction Amount: 353.92    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.02   OCC Fees: 0.04




                               TSLA 241115 365.00C                                                                            2024/11/12
  Buy to Open                                               Agency                        USD                                                                                           6.5500                                  1                                 655.00
                               TSLA241115C365000                                                                              10:37:52


  Subtotal: 0.03               Number of Transactions: 1   Transaction Amount: 655.00   Net Transaction Amount: -655.03   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               TSLA 241115 365.00C                                                                            2024/11/12
  Sell to Close                                             Agency                        USD                                                                                           7.0500                                  1                                 705.00
                               TSLA241115C365000                                                                              10:38:27


  Subtotal: 0.06               Number of Transactions: 1   Transaction Amount: 705.00   Net Transaction Amount: 704.94    SEC Fees: 0.02                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               SPY 241113 597.00C                                                                             2024/11/12
  Buy to Open                                               Agency                        USD                                                                                           1.9300                                  1                                 193.00
                               SPY241113C597000                                                                               11:53:14


                               SPY 241113 597.00C                                                                             2024/11/12
  Buy to Open                                               Agency                        USD                                                                                           1.9300                                  1                                 193.00
                               SPY241113C597000                                                                               11:53:14



  Subtotal: 0.06               Number of Transactions: 2   Transaction Amount: 386.00   Net Transaction Amount: -386.06   Options Regulatory Fees: 0.02   OCC Fees: 0.04




                               SPY 241113 597.00C                                                                             2024/11/12
  Sell to Close                                             Agency                        USD                                                                                           1.7900                                  1                                 179.00
                               SPY241113C597000                                                                               11:56:07


                               SPY 241113 597.00C                                                                             2024/11/12
  Sell to Close                                             Agency                        USD                                                                                           1.7900                                  1                                 179.00
                               SPY241113C597000                                                                               11:56:07



  Subtotal: 0.10               Number of Transactions: 2   Transaction Amount: 358.00   Net Transaction Amount: 357.90    SEC Fees: 0.02                  Trading Activity Fees: 0.02   Options Regulatory Fees: 0.02   OCC Fees: 0.04




                               SPY 241112 597.00C                                                                             2024/11/12
  Buy to Open                                               Agency                        USD                                 12:26:43                                                  0.5200                                  1                                  52.00
                               SPY241112C597000


  Subtotal: 0.03               Number of Transactions: 1   Transaction Amount: 52.00    Net Transaction Amount: -52.03    Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               SPY 241112 597.00C                                                                             2024/11/12
  Sell to Close                                             Agency                        USD                                                                                           0.4800                                  1                                  48.00
                               SPY241112C597000                                                                               12:28:29




Preparation Date: 2024/12/03                                                                                                                                                                                                                                 Page 5 of 12
Account Name: TREVOR BLAIR      Account Number: 1007205526753615
                                          Case 9:24-cr-80074-DMM Document 80 Entered on FLSD Docket 02/24/2025 Page 32 of 49                                                                                              Monthly Statement of Universal Account - Securities
                                                                                                                                                                                                                                                                    Nov 2024

  Direction                    Symbol                       Order Capacity                Currency                            Date/Time                                                   Price                         Quantity                                 Amount


  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 48.00    Net Transaction Amount: 47.95     SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               TSLA 241115 330.00P                                                                            2024/11/13
  Buy to Open                                               Agency                        USD                                                                                           6.8500                                  1                                 685.00
                               TSLA241115P330000                                                                              09:52:40



  Subtotal: 0.03               Number of Transactions: 1   Transaction Amount: 685.00   Net Transaction Amount: -685.03   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               TSLA 241115 330.00P                                                                            2024/11/13
  Sell to Close                                             Agency                        USD                                                                                           6.3000                                  1                                 630.00
                               TSLA241115P330000                                                                              09:59:06



  Subtotal: 0.06               Number of Transactions: 1   Transaction Amount: 630.00   Net Transaction Amount: 629.94    SEC Fees: 0.02                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               SPY 241114 597.00C                                                                             2024/11/13
  Buy to Open                                               Agency                        USD                                                                                           1.7000                                  1                                 170.00
                               SPY241114C597000                                                                               10:33:01


                               SPY 241114 597.00C                                                                             2024/11/13
  Buy to Open                                               Agency                        USD                                                                                           1.7000                                  1                                 170.00
                               SPY241114C597000                                                                               10:33:01



  Subtotal: 0.06               Number of Transactions: 2   Transaction Amount: 340.00   Net Transaction Amount: -340.06   Options Regulatory Fees: 0.02   OCC Fees: 0.04




                               SPY 241114 597.00C                                                                             2024/11/13
  Sell to Close                                             Agency                        USD                                                                                           1.3700                                  2                                 274.00
                               SPY241114C597000                                                                               10:40:48


  Subtotal: 0.08               Number of Transactions: 1   Transaction Amount: 274.00   Net Transaction Amount: 273.92    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.02   OCC Fees: 0.04




                               META 241115 580.00C                                                                            2024/11/14
  Buy to Open                                               Agency                        USD                                                                                           4.0000                                  1                                 400.00
                               META241115C580000                                                                              09:59:07



  Subtotal: 0.03               Number of Transactions: 1   Transaction Amount: 400.00   Net Transaction Amount: -400.03   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               META 241115 580.00C                                                                            2024/11/14
  Sell to Close                                             Agency                        USD                                                                                           3.3000                                  1                                 330.00
                               META241115C580000                                                                              09:59:58



  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 330.00   Net Transaction Amount: 329.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               QQQ 241115 510.00P                                                                             2024/11/14
  Buy to Open                                               Agency                        USD                                                                                           1.5700                                  1                                 157.00
                               QQQ241115P510000                                                                               10:59:07



  Subtotal: 0.03               Number of Transactions: 1   Transaction Amount: 157.00   Net Transaction Amount: -157.03   Options Regulatory Fees: 0.01   OCC Fees: 0.02




Preparation Date: 2024/12/03                                                                                                                                                                                                                                 Page 6 of 12
Account Name: TREVOR BLAIR      Account Number: 1007205526753615
                                          Case 9:24-cr-80074-DMM Document 80 Entered on FLSD Docket 02/24/2025 Page 33 of 49                                                                                              Monthly Statement of Universal Account - Securities
                                                                                                                                                                                                                                                                    Nov 2024

  Direction                    Symbol                       Order Capacity                Currency                            Date/Time                                                   Price                         Quantity                                 Amount


                               QQQ 241115 510.00P                                                                             2024/11/14
  Sell to Close                                             Agency                        USD                                                                                           1.4500                                  1                                 145.00
                               QQQ241115P510000                                                                               11:00:44



  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 145.00   Net Transaction Amount: 144.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               SPY 241118 589.00P                                                                             2024/11/15
  Buy to Open                                               Agency                        USD                                                                                           1.6700                                  1                                 167.00
                               SPY241118P589000                                                                               09:50:21


                               SPY 241118 589.00P                                                                             2024/11/15
  Buy to Open                                               Agency                        USD                                                                                           1.6700                                  1                                 167.00
                               SPY241118P589000                                                                               09:50:21


                               SPY 241118 589.00P                                                                             2024/11/15
  Buy to Open                                               Agency                        USD                                                                                           1.6700                                  1                                 167.00
                               SPY241118P589000                                                                               09:50:21



  Subtotal: 0.09               Number of Transactions: 3   Transaction Amount: 501.00   Net Transaction Amount: -501.09   Options Regulatory Fees: 0.03   OCC Fees: 0.06




                               SPY 241118 589.00P                                                                             2024/11/15
  Sell to Close                                             Agency                        USD                                                                                           2.0400                                  1                                 204.00
                               SPY241118P589000                                                                               09:58:14


                               SPY 241118 589.00P                                                                             2024/11/15
  Sell to Close                                             Agency                        USD                                                                                           2.0400                                  1                                 204.00
                               SPY241118P589000                                                                               09:58:14


                               SPY 241118 589.00P                                                                             2024/11/15
  Sell to Close                                             Agency                        USD                                                                                           2.0400                                  1                                 204.00
                               SPY241118P589000                                                                               09:58:14



  Subtotal: 0.15               Number of Transactions: 3   Transaction Amount: 612.00   Net Transaction Amount: 611.85    SEC Fees: 0.03                  Trading Activity Fees: 0.03   Options Regulatory Fees: 0.03   OCC Fees: 0.06




                               SPY 241118 586.00C                                                                             2024/11/15
  Buy to Open                                               Agency                        USD                                                                                           1.6600                                  2                                 332.00
                               SPY241118C586000                                                                               15:27:03



  Subtotal: 0.06               Number of Transactions: 1   Transaction Amount: 332.00   Net Transaction Amount: -332.06   Options Regulatory Fees: 0.02   OCC Fees: 0.04




                               SPY 241118 586.00C                                                                             2024/11/15
  Sell to Close                                             Agency                        USD                                                                                           1.4900                                  2                                 298.00
                               SPY241118C586000                                                                               15:32:11



  Subtotal: 0.08               Number of Transactions: 1   Transaction Amount: 298.00   Net Transaction Amount: 297.92    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.02   OCC Fees: 0.04




                               SPY 241119 586.00C                                                                             2024/11/18
  Buy to Open                                               Agency                        USD                                                                                           2.2000                                  3                                 660.00
                               SPY241119C586000                                                                               09:42:43



  Subtotal: 0.10               Number of Transactions: 1   Transaction Amount: 660.00   Net Transaction Amount: -660.10   Options Regulatory Fees: 0.04   OCC Fees: 0.06




Preparation Date: 2024/12/03                                                                                                                                                                                                                                 Page 7 of 12
Account Name: TREVOR BLAIR      Account Number: 1007205526753615
                                          Case 9:24-cr-80074-DMM Document 80 Entered on FLSD Docket 02/24/2025 Page 34 of 49                                                                                              Monthly Statement of Universal Account - Securities
                                                                                                                                                                                                                                                                    Nov 2024

  Direction                    Symbol                       Order Capacity                Currency                            Date/Time                                                   Price                         Quantity                                 Amount


                               SPY 241119 586.00C                                                                             2024/11/18
  Sell to Close                                             Agency                        USD                                                                                           1.8200                                  3                                 546.00
                               SPY241119C586000                                                                               09:47:20



  Subtotal: 0.13               Number of Transactions: 1   Transaction Amount: 546.00   Net Transaction Amount: 545.87    SEC Fees: 0.02                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.04   OCC Fees: 0.06




                               SPY 241120 587.00P                                                                             2024/11/20
  Buy to Open                                               Agency                        USD                                                                                           1.9100                                  3                                 573.00
                               SPY241120P587000                                                                               11:07:17



  Subtotal: 0.10               Number of Transactions: 1   Transaction Amount: 573.00   Net Transaction Amount: -573.10   Options Regulatory Fees: 0.04   OCC Fees: 0.06




                               SPY 241120 587.00P                                                                             2024/11/20
  Sell to Close                                             Agency                        USD                                                                                           2.1900                                  3                                 657.00
                               SPY241120P587000                                                                               11:13:55



  Subtotal: 0.13               Number of Transactions: 1   Transaction Amount: 657.00   Net Transaction Amount: 656.87    SEC Fees: 0.02                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.04   OCC Fees: 0.06




                               NVDA 241122 150.00C                                                                            2024/11/21
  Buy to Open                                               Agency                        USD                                                                                           2.6600                                  1                                 266.00
                               NVDA241122C150000                                                                              09:30:46



  Subtotal: 0.03               Number of Transactions: 1   Transaction Amount: 266.00   Net Transaction Amount: -266.03   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               NVDA 241122 150.00C                                                                            2024/11/21
  Sell to Close                                             Agency                        USD                                                                                           3.1500                                  1                                 315.00
                               NVDA241122C150000                                                                              09:31:07



  Subtotal: 0.05               Number of Transactions: 1   Transaction Amount: 315.00   Net Transaction Amount: 314.95    SEC Fees: 0.01                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               SMCI 241122 31.00C                                                                             2024/11/22
  Buy to Open                                               Agency                        USD                                                                                           1.4000                                  1                                 140.00
                               SMCI241122C31000                                                                               09:36:15


                               SMCI 241122 31.00C                                                                             2024/11/22
  Buy to Open                                               Agency                        USD                                                                                           1.4000                                  1                                 140.00
                               SMCI241122C31000                                                                               09:36:15



  Subtotal: 0.06               Number of Transactions: 2   Transaction Amount: 280.00   Net Transaction Amount: -280.06   Options Regulatory Fees: 0.02   OCC Fees: 0.04




                               SMCI 241122 31.00C                                                                             2024/11/22
  Sell to Close                                             Agency                        USD                                                                                           1.5500                                  1                                 155.00
                               SMCI241122C31000                                                                               09:36:54


                               SMCI 241122 31.00C                                                                             2024/11/22
  Sell to Close                                             Agency                        USD                                                                                           1.5500                                  1                                 155.00
                               SMCI241122C31000                                                                               09:36:54



  Subtotal: 0.10               Number of Transactions: 2   Transaction Amount: 310.00   Net Transaction Amount: 309.90    SEC Fees: 0.02                  Trading Activity Fees: 0.02   Options Regulatory Fees: 0.02   OCC Fees: 0.04




Preparation Date: 2024/12/03                                                                                                                                                                                                                                 Page 8 of 12
Account Name: TREVOR BLAIR      Account Number: 1007205526753615
                                          Case 9:24-cr-80074-DMM Document 80 Entered on FLSD Docket 02/24/2025 Page 35 of 49                                                                                              Monthly Statement of Universal Account - Securities
                                                                                                                                                                                                                                                                    Nov 2024

  Direction                    Symbol                       Order Capacity                Currency                            Date/Time                                                   Price                         Quantity                                 Amount


                               SPY 241127 597.00C                                                                             2024/11/25
  Buy to Open                                               Agency                        USD                                                                                           2.1000                                  1                                 210.00
                               SPY241127C597000                                                                               13:00:35


                               SPY 241127 597.00C                                                                             2024/11/25
  Buy to Open                                               Agency                        USD                                                                                           2.1000                                  1                                 210.00
                               SPY241127C597000                                                                               13:00:35


                               SPY 241127 597.00C                                                                             2024/11/25
  Buy to Open                                               Agency                        USD                                                                                           2.1000                                  1                                 210.00
                               SPY241127C597000                                                                               13:00:35



  Subtotal: 0.09               Number of Transactions: 3   Transaction Amount: 630.00   Net Transaction Amount: -630.09   Options Regulatory Fees: 0.03   OCC Fees: 0.06




                               SPY 241127 597.00C                                                                             2024/11/25
  Sell to Close                                             Agency                        USD                                                                                           2.4100                                  3                                 723.00
                               SPY241127C597000                                                                               13:13:46


  Subtotal: 0.13               Number of Transactions: 1   Transaction Amount: 723.00   Net Transaction Amount: 722.87    SEC Fees: 0.02                  Trading Activity Fees: 0.01   Options Regulatory Fees: 0.04   OCC Fees: 0.06




                               QQQ 241129 508.00P                                                                             2024/11/26
  Buy to Open                                               Agency                        USD                                                                                           1.9900                                  1                                 199.00
                               QQQ241129P508000                                                                               10:52:18


  Subtotal: 0.03               Number of Transactions: 1   Transaction Amount: 199.00   Net Transaction Amount: -199.03   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               QQQ 241129 508.00P                                                                             2024/11/26
  Buy to Open                                               Agency                        USD                                                                                           2.0000                                  1                                 200.00
                               QQQ241129P508000                                                                               10:52:53


  Subtotal: 0.03               Number of Transactions: 1   Transaction Amount: 200.00   Net Transaction Amount: -200.03   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               QQQ 241129 508.00P                                                                             2024/11/26
  Buy to Open                                               Agency                        USD                                                                                           1.9600                                  1                                 196.00
                               QQQ241129P508000                                                                               10:53:03


  Subtotal: 0.03               Number of Transactions: 1   Transaction Amount: 196.00   Net Transaction Amount: -196.03   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               QQQ 241129 508.00P                                                                             2024/11/26
  Buy to Open                                               Agency                        USD                                                                                           2.0100                                  1                                 201.00
                               QQQ241129P508000                                                                               10:54:10


  Subtotal: 0.03               Number of Transactions: 1   Transaction Amount: 201.00   Net Transaction Amount: -201.03   Options Regulatory Fees: 0.01   OCC Fees: 0.02




                               QQQ 241129 508.00P                                                                             2024/11/26
  Sell to Close                                             Agency                        USD                                                                                           1.7700                                  2                                 354.00
                               QQQ241129P508000                                                                               12:43:11


                               QQQ 241129 508.00P                                                                             2024/11/26
  Sell to Close                                             Agency                        USD                                                                                           1.7700                                  1                                 177.00
                               QQQ241129P508000                                                                               12:43:11




Preparation Date: 2024/12/03                                                                                                                                                                                                                                 Page 9 of 12
Account Name: TREVOR BLAIR      Account Number: 1007205526753615
                                                      Case 9:24-cr-80074-DMM Document 80 Entered on FLSD Docket 02/24/2025 Page 36 of 49                                                                                                                                                Monthly Statement of Universal Account - Securities
                                                                                                                                                                                                                                                                                                                                  Nov 2024

  Direction                                Symbol                                    Order Capacity                      Currency                                  Date/Time                                                                    Price                                 Quantity                                 Amount


                                           QQQ 241129 508.00P                                                                                                      2024/11/26
  Sell to Close                                                                      Agency                              USD                                                                                                               1.7700                                             1                                   177.00
                                           QQQ241129P508000                                                                                                        12:43:11



  Subtotal: 0.18                           Number of Transactions: 3                Transaction Amount: 708.00         Net Transaction Amount: 707.82        SEC Fees: 0.03                        Trading Activity Fees: 0.03             Options Regulatory Fees: 0.04              OCC Fees: 0.08




                                           SPY 241202 599.00C                                                                                                      2024/11/27
  Buy to Open                                                                        Agency                              USD                                                                                                               2.1500                                             2                                   430.00
                                           SPY241202C599000                                                                                                        11:36:09



  Subtotal: 0.06                           Number of Transactions: 1                Transaction Amount: 430.00         Net Transaction Amount: -430.06       Options Regulatory Fees: 0.02         OCC Fees: 0.04




                                           SPY 241202 599.00C                                                                                                      2024/11/27
  Buy to Open                                                                        Agency                              USD                                                                                                               2.1400                                             1                                   214.00
                                           SPY241202C599000                                                                                                        11:36:15


  Subtotal: 0.03                           Number of Transactions: 1                Transaction Amount: 214.00         Net Transaction Amount: -214.03       Options Regulatory Fees: 0.01         OCC Fees: 0.02




                                           SPY 241202 599.00C                                                                                                      2024/11/27
  Sell to Close                                                                      Agency                              USD                                                                                                               1.8600                                             3                                   558.00
                                           SPY241202C599000                                                                                                        11:46:55



  Subtotal: 0.13                           Number of Transactions: 1                Transaction Amount: 558.00         Net Transaction Amount: 557.87        SEC Fees: 0.02                        Trading Activity Fees: 0.01             Options Regulatory Fees: 0.04              OCC Fees: 0.06




  Buy to Open                              SPY 241129 599.00C                                                                                                      2024/11/27
                                                                                     Agency                              USD                                                                                                               1.3200                                             1                                   132.00
                                           SPY241129C599000                                                                                                        14:43:33


  Subtotal: 0.03                           Number of Transactions: 1                Transaction Amount: 132.00         Net Transaction Amount: -132.03       Options Regulatory Fees: 0.01         OCC Fees: 0.02




                                           SPY 241129 599.00C                                                                                                      2024/11/27
  Sell to Close                                                                      Agency                              USD                                                                                                               1.2200                                             1                                   122.00
                                           SPY241129C599000                                                                                                        14:58:11


  Subtotal: 0.05                           Number of Transactions: 1                Transaction Amount: 122.00         Net Transaction Amount: 121.95        SEC Fees: 0.01                        Trading Activity Fees: 0.01             Options Regulatory Fees: 0.01              OCC Fees: 0.02




 USD Total

               Total of Transaction Fees: 1.55         Number of Transactions: 41               Number of Orders: 33               Transaction Amount: 12,267.00         Net Transaction Amount: -12,268.55     Options Regulatory Fees: 0.53           OCC Fees: 1.02
   Buy


               Total of Transaction Fees: 2.38         Number of Transactions: 37               Number of Orders: 29               Transaction Amount: 11,843.00         Net Transaction Amount: 11,840.62      SEC Fees: 0.44                          Trading Activity Fees: 0.37               Options Regulatory Fees: 0.55
   Sell        OCC Fees: 1.02




Changes in Cash




Preparation Date: 2024/12/03                                                                                                                                                                                                                                                                                              Page 10 of 12
Account Name: TREVOR BLAIR                   Account Number: 1007205526753615
                                      Case 9:24-cr-80074-DMM Document 80 Entered on FLSD Docket 02/24/2025 Page 37 of 49     Monthly Statement of Universal Account - Securities
                                                                                                                                                                       Nov 2024


   USD                                                                   Date/Time             Type          Amount        Comment

                                                                         -                     Buy Amount    -12,267.00
   Starting Cash                                           1,387.65
                                                                         -                     Buy Fee       -1.55

   Ending Cash                                               859.72      -                     Sell Amount   +11,843.00
   Ending Settled Cash                                       859.72
                                                                         -                     Sell Fee      -2.38
   Ending Unsettled Cash                                          0.00
                                                                         2024/11/23 02:46:15   Withdrawal    -100.00       Wire Withdrawal - EWB


                                                                                               USD Total     -527.93




   HKD                                                                   Date/Time             Type          Amount        Comment

   Starting Cash                                                  0.00                         HKD Total     0.00


   Ending Cash                                                    0.00
   Ending Settled Cash                                            0.00
   Ending Unsettled Cash                                          0.00



   CNH                                                                   Date/Time             Type          Amount        Comment

   Starting Cash                                                  0.00                         CNH Total     0.00


   Ending Cash                                                    0.00
   Ending Settled Cash                                            0.00
   Ending Unsettled Cash                                          0.00




Preparation Date: 2024/12/03                                                                                                                                   Page 11 of 12
Account Name: TREVOR BLAIR     Account Number: 1007205526753615
                                      Case 9:24-cr-80074-DMM Document 80 Entered on FLSD Docket 02/24/2025 Page 38 of 49                                                                  Monthly Statement of Universal Account - Securities
                                                                                                                                                                                                                                    Nov 2024

NOTES AND IMPORTANT INFORMATION

Please promptly report any inaccuracy or discrepancy in this statement, or in your account to Moomoo Financial Inc. Customer Service Department at cs@us.moomoo.com.

Any interest charged on the debit balance and/or borrow fee rate in your account is shown on this statement.These rates may change from time to time without prior notice.

The closing prices on this statement are unaudited and may come from third-party sources. Moomoo Financial Inc. does not warrant the accuracy of the prices.

Information on commissions and other charges related to the execution of option transactions was included in confirmations of such transactions that were previously furnished to you. If you would like more information,
please contact us.

You must promptly advise Moomoo Financial Inc. by emailing cs@us.moomoo.com of any material change in your investment objectives or financial situation.

Year to date income and realized gain/loss figures in this statement are preliminary and should not be used for income tax purposes.

Cash Sweep Program. Moomoo Financial Inc. is not responsible for monitoring the amount of your deposits in any program bank. You are responsible for monitoring the total amounts of deposits in each bank to
determine whether the deposits exceed the limit of available FDIC insurance.

FDIC Protection. Cash Sweep deposits are insured by the Federal Deposit Insurance Corporation (FDIC) up to $250,000 per program bank, including other deposits you may already hold at the bank in the same
ownership capacity. Your funds in the Cash Sweep Program are not protected by SIPC.

SIPC Protection. Securities Investor Protection Corporation (SIPC) protects against the loss of cash and securities held by a customer at a financially-troubled SIPC-member brokerage firm. SIPC does not protect against
the decline in value of your securities. The limit of SIPC protection is $500,000, which includes a $250,000 limit for cash.www.sipc.org

Interactive Brokers LLC is a member of the New York Stock Exchange and various other exchanges. Interactive Brokers LLC acts as clearing broker for your trades, and may provide order execution services.
Address: Interactive Brokers, LLC, One Pickwick Plaza, 2nd Floor, Greenwich, CT 06830
Telephone: 877-442-2757

Futu Clearing Inc. may act as a clearing broker and may provide execution services for some of your transactions.
Address: Futu Clearing Inc., 550 S California Ave, Suite 200 Palo Alto, CA 94306
Telephone: 650-798-5700

Futu Securities International (Hong Kong) Limited is a Hong Kong Exchange participant and it provides clearing and execution services for your trades on the Hong Kong Exchange.

Address: Unit C1-2, 13F, United Centre, No. 95 Queensway, Admiralty, HK
Telephone: HK(852)2523 3588; Mainland China(86 755)8869 1168

For additional information about your account, see Terms of Use & Customer Agreement at www.moomoo.com/us.

In case of discrepancies between the English language version of this document and any translation provided for your reference, the English language version shall prevail.




Moomoo Financial Inc.
www.moomoo.com/us
550 S California Ave, Suite 200 Palo Alto, CA 94306, 650-798-5700, cs@us.moomoo.com
Member FINRA / SIPC
Preparation Date: 2024/12/03                                                                                                                                                                                                Page 12 of 12
Account Name: TREVOR BLAIR     Account Number: 1007205526753615
                                                      Case 9:24-cr-80074-DMM Document 80 Entered on FLSD Docket 02/24/2025 Page 39 of 49 Trade Confirmation of Cash Account (3615)Dec
                                                                                                                                                                                  - Securities
                                                                                                                                                                                      31,2024

Account Information

  Name                                               TREVOR BLAIR                                                                                                      Customer Type                                    Client

  Account Number                                     1007205526753615                                                                                                  Account Type                                     Cash

  Address                                            18720 Cape Sable Dr,Boca Raton,FL


Trades - Securities

  Direction                                Symbol                                   Order Capacity                       Currency                                   Date/Time                                                                      Price                                 Quantity                                Amount


                                           QQQ 241231 519.00C                                                                                                       2024/12/31
  Buy to Open                                                                       Agency                               USD                                                                                                                  1.1400                                             1                                   114.00
                                           QQQ241231C519000                                                                                                         09:48:13


  Subtotal: 0.03                           Number of Transactions: 1               Transaction Amount: 114.00          Net Transaction Amount: -114.03          Options Regulatory Fees: 0.01         OCC Fees: 0.02




                                           QQQ 241231 519.00C                                                                                                       2024/12/31
  Sell to Close                                                                     Agency                               USD                                                                                                                  0.9400                                             1                                   94.00
                                           QQQ241231C519000                                                                                                         09:50:35



  Subtotal: 0.05                           Number of Transactions: 1               Transaction Amount: 94.00           Net Transaction Amount: 93.95            SEC Fees: 0.01                        Trading Activity Fees: 0.01             Options Regulatory Fees: 0.01              OCC Fees: 0.02




                                           SPY 250102 593.00C                                                                                                       2024/12/31
  Buy to Open                                                                       Agency                               USD                                                                                                                  1.5400                                             1                                   154.00
                                           SPY250102C593000                                                                                                         10:22:49


  Subtotal: 0.03                           Number of Transactions: 1               Transaction Amount: 154.00          Net Transaction Amount: -154.03          Options Regulatory Fees: 0.01         OCC Fees: 0.02




                                           SPY 250102 593.00C                                                                                                       2024/12/31
  Sell to Close                                                                     Agency                               USD                                                                                                                  1.1100                                             1                                   111.00
                                           SPY250102C593000                                                                                                         10:46:40



  Subtotal: 0.05                           Number of Transactions: 1               Transaction Amount: 111.00          Net Transaction Amount: 110.95           SEC Fees: 0.01                        Trading Activity Fees: 0.01             Options Regulatory Fees: 0.01              OCC Fees: 0.02




 USD Total

               Total of Transaction Fees: 0.06         Number of Transactions: 2               Number of Orders: 2                 Transaction Amount: 268.00               Net Transaction Amount: -268.06        Options Regulatory Fees: 0.02           OCC Fees: 0.04
   Buy


               Total of Transaction Fees: 0.10         Number of Transactions: 2               Number of Orders: 2                 Transaction Amount: 205.00               Net Transaction Amount: 204.90         SEC Fees: 0.02                          Trading Activity Fees: 0.02               Options Regulatory Fees: 0.02
   Sell        OCC Fees: 0.04




Financial Instrument Information

 Symbol                                                                                                         Description                                                                                                  Type


 QQQ241231C519000                                                                                               QQQ 241231 519.00C                                                                                           Option




Preparation Date: 2025/01/02                                                                                                                                                                                                                                                                                                   Page 1 of 3
Account Name: TREVOR BLAIR                   Account Number: 1007205526753615
                                      Case 9:24-cr-80074-DMM Document 80 Entered on FLSD Docket 02/24/2025 Page 40 of 49 Trade Confirmation of Cash Account (3615)Dec
                                                                                                                                                                  - Securities
                                                                                                                                                                      31,2024

 Symbol                                                           Description                                           Type


 SPY250102C593000                                                 SPY 250102 593.00C                                    Option




Preparation Date: 2025/01/02                                                                                                                                           Page 2 of 3
Account Name: TREVOR BLAIR     Account Number: 1007205526753615
                                      Case 9:24-cr-80074-DMM Document 80 Entered on FLSD Docket 02/24/2025 Page 41 of 49 Trade Confirmation of Cash Account (3615)Dec
                                                                                                                                                                  - Securities
                                                                                                                                                                      31,2024

NOTES AND IMPORTANT INFORMATION

   Please promptly report any inaccuracy or discrepancy in this statement, or in your account to Moomoo Financial Inc. Customer Service Department at cs@us.moomoo.com.

   Any interest charged on the debit balance and/or borrow fee rate in your account is shown on this statement.These rates may change from time to time without prior notice.

   The closing prices on this statement are unaudited and may come from third-party sources. Moomoo Financial Inc. does not warrant the accuracy of the prices.

   Information on commissions and other charges related to the execution of option transactions was included in confirmations of such transactions that were previously furnished to you. If you would like more
   information, please contact us.

   You must promptly advise Moomoo Financial Inc. by emailing cs@us.moomoo.com of any material change in your investment objectives or financial situation.

   Year to date income and realized gain/loss figures in this statement are preliminary and should not be used for income tax purposes.

   Cash Sweep Program. Moomoo Financial Inc. is not responsible for monitoring the amount of your deposits in any program bank. You are responsible for monitoring the total amounts of deposits in each bank to
   determine whether the deposits exceed the limit of available FDIC insurance.

   FDIC Protection. Cash Sweep deposits are insured by the Federal Deposit Insurance Corporation (FDIC) up to $250,000 per program bank, including other deposits you may already hold at the bank in the same
   ownership capacity. Your funds in the Cash Sweep Program are not protected by SIPC.

   SIPC Protection. Securities Investor Protection Corporation (SIPC) protects against the loss of cash and securities held by a customer at a financially-troubled SIPC-member brokerage firm. SIPC does not protect
   against the decline in value of your securities. The limit of SIPC protection is $500,000, which includes a $250,000 limit for cash.www.sipc.org

   Interactive Brokers LLC is a member of the New York Stock Exchange and various other exchanges. Interactive Brokers LLC acts as clearing broker for your trades, and may provide order execution services.
   Address: Interactive Brokers, LLC, One Pickwick Plaza, 2nd Floor, Greenwich, CT 06830
   Telephone: 877-442-2757

   Futu Clearing Inc. may act as a clearing broker and may provide execution services for some of your transactions.
   Address: Futu Clearing Inc., 550 S California Ave, Suite 200 Palo Alto, CA 94306
   Telephone: 650-798-5700

   Futu Securities International (Hong Kong) Limited is a Hong Kong Exchange participant and it provides clearing and execution services for your trades on the Hong Kong Exchange.

   Address: Unit C1-2, 13F, United Centre, No. 95 Queensway, Admiralty, HK
   Telephone: HK(852)2523 3588; Mainland China(86 755)8869 1168

   For additional information about your account, see Terms of Use & Customer Agreement at www.moomoo.com/us.

   In case of discrepancies between the English language version of this document and any translation provided for your reference, the English language version shall prevail.




   Moomoo Financial Inc.
   www.moomoo.com/us
   550 S California Ave, Suite 200 Palo Alto, CA 94306, 650-798-5700, cs@us.moomoo.com
   Member FINRA / SIPC
Preparation Date: 2025/01/02                                                                                                                                                                                       Page 3 of 3
Account Name: TREVOR BLAIR     Account Number: 1007205526753615
Case 9:24-cr-80074-DMM Document 80 Entered on FLSD Docket 02/24/2025 Page 42 of 49




          Exhibit C




                                     Page 7 of 7
Case 9:24-cr-80074-DMM Document 80 Entered on FLSD Docket 02/24/2025 Page 43 of 49



   Honorable Judge Middlebrooks,

   We submit this character letter on behalf of our Sons Justin Blair and Trevor Blair. We truly
   believe that the actions they participated in do not wholly define who they are and who they are
   meant to be.

   Justin was our first child, built for athletics he excelled across a variety of sports from
   kindergarten to high school. He spent a decade on travel soccer teams some that won state
   others that placed. We are a family of faith attending Calvary Chapel Fort Lauderdale where
   Justin became one of it’s first students at their Calvary Chapel Christian Academy. He moved to
   Fort Lauderdale Christian during high school where he excelled in their Soccer program and
   studies. He was the homecoming King and often called to help new students. He graduated
   from Ft Lauderdale Christian and went on to study at Palm Beach Community College and a
   brief year at FAU.

   Our Son Trevor Blair, was created with an exceptional heart and intelligence. He has always
   excelled in his studies and explored college and several career paths in pursuit of a life well
   lived. The character letters submitted on his behalf will all speak to these gifts from childhood
   friends to colleagues who deem him a good man. He was chosen 1 of 300 US students to
   attend Quanico to explore a Civil service career in law enforcement, receiving a certificate of
   completion with college credits. Considering the events that led to his indictment as his parents
   it is difficult to understand where we find ourselves today.

   Both our Sons have sought our forgiveness and we have accepted it.
   Both our Sons have repented and asked our Lord Jesus forgiveness of this sin and He has
   accepted it.
   Our Family is asking your Honor to accept our Son's acceptance of guilt seeing their hearts
   redeem themselves from this behavior by their full cooperation with the government.

   We have attended all their court hearings and have found you merciful when you delayed their
   sentencing date so that Justin and our entire family could be home for the birth of our first
   grandchild. It is our sincere hope that you will find favor on our Sons Justin Blair and Trevor
   Blair, allowing each to remain at home. Justin to support his wife Mila and their new baby
   daughter and Trevor to help support us, as good citizens positively contributing to our Florida
   community versus being a financial burden on it and being men worthy of your mercy.

   On behalf of our entire family, we pray and believe that you will find favor and mercy on our
   Sons Justin Blair and Trevor Blair as you define what is just from their actions.

   Thomas and Patrice Blair
   Parents
Case 9:24-cr-80074-DMM Document 80 Entered on FLSD Docket 02/24/2025 Page 44 of 49
Case 9:24-cr-80074-DMM Document 80 Entered on FLSD Docket 02/24/2025 Page 45 of 49
Case 9:24-cr-80074-DMM Document 80 Entered on FLSD Docket 02/24/2025 Page 46 of 49
Case 9:24-cr-80074-DMM Document 80 Entered on FLSD Docket 02/24/2025 Page 47 of 49
Case 9:24-cr-80074-DMM Document 80 Entered on FLSD Docket 02/24/2025 Page 48 of 49
Case 9:24-cr-80074-DMM Document 80 Entered on FLSD Docket 02/24/2025 Page 49 of 49




   Honorable Judge Middlebrooks,

   I hope this letter finds you well. My name is Teague D. Gallagher, and I am
   writing to you as the uncle of Trevor Blair. I have had the privilege of
   knowing Trevor since the very day he was born, as I share a close bond
   with his mother, my sister. For many years, I have been an integral part of
   their family life, living nearby in Boca Raton. Our shared
   experiences—countless dinners around the table, joyous celebrations
   during the holidays, and memorable vacations together—have created a
   strong familial connection as we celebrate our latest addition Justin’s baby
   girl born on 2/29/25, making Trevor an uncle who wants to play an integral
   part in her life.

   Throughout his upbringing, both Trevor and his brother, Justin, have
   consistently exemplified the values of love, faith, and devotion to God and
   family. While I may not be familiar with all the specifics surrounding this
   legal matter, I can attest to their character wholeheartedly. These young
   men embody strong moral principles and serve as a positive influence in
   our community—a beacon of hope, especially in the challenging times we
   face today.

   I firmly believe that if given the chance to show their true selves to you,
   they will rise to the occasion and demonstrate their inherent goodness and
   potential. Judge Middlebrooks, I earnestly appeal to your wisdom and
   discernment to view these young men as individuals capable of
   transformation. By granting them another opportunity, you can help guide
   them back onto a path that reflects their true nature, allowing them to
   continue their journey toward becoming honorable, upstanding members of
   society with bright futures ahead.

   Thank you for your consideration.
   Sincerely,
   Teague D. Gallagher
   teaguegallagher@comcast.net
   954.803.0606 Sent from my iPad
